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                                                                         Enante Darout                        10/18/2021
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                                     UNITED STATES DISTRICT COURT                                                                               INDEX
                                     EASTERN DISTRICT OF KENTUCKY
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         THE STANDARD FIRE                                                                                        (Galanski offer document)
         INSURANCE COMPANY,                                                                              11
                                                            WITNESS:
                                                                                                               Plaintiff's Exhibit No. 26                                    .55
                                   DEFENDANT                ENANTE DAROUT
                                                                                                         12
                                                                                                                  (E-mail chain between Mr. Stoltz and
                                            *   *   *   *                            *   *   *   *       13        Mr. Galanski dated 10/5-30/18 with
                   The deposition of ENANTE DAROUT was taken                                                       attached letter dated 10/30/18)
         via digital videography via videoconference on                                                  14
         behalf of the plaintiff before MARYBETH C. SOWARDS,                                                      Plaintiff's Exhibit No. 27                                 • 64
         Certified Court Reporter and Notary Public in and                                               15
         for the State of Kentucky at Large, on Monday,                                                     (Request for Legal Advice form dated 10/31/18)
         October 18, 2021, commencing at the approximate                                                 16
         hour of 9:45 a.m.                                                                               17 Plaintiff's Exhibit No. 28                                       .49
                   Said deposition was taken pursuant to
                                                                                                         18
         notice previously filed, pursuant to the Federal
         Rules of Civil Procedure, in the above-styled                                                   19 (Letter from Ms. Darout to Mr. Parsons dated
         action now pending before the United States                                                     20 11/28/18)
         District Court, Eastern District of Kentucky,                                                   21
         Central Division at Lexington.                                                                  22 Plaintiff's Exhibit No. 29                                       107
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    11                     Schiller Barnes Maloney, PLLC
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    12                        401 West Main Street                                                       15        (Statute 304.39-320, Underinsured motorist
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                                                                                                         24
                                                                                                                              ****         ****
    24
    25                                                                                                   25


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      1                VIDEOGRAPHER: We're now on the            1 questions. I don't mean to be personal, but just
      2            video record. Today's date is October         2 in terms of your background, what year were you
      3            18, 2021, and the time is 9:45 a.m. My        3 born?
      4            name is John Sowards, today's                 4 A
      5            videographer, and all parties are             5 Q          And where were you born?
      6            appearing via videoconferencing               6 A          Elizabeth, New Jersey.
      7            pursuant to FRCP 30(b)(4) for the             7 Q          Where'd you grow up?
      8            deposition ofEnante Darout pursuant to        8 A          New Jersey.
      9            notice in the United States District          9 Q          Travelers was kind enough to share some
     10            Court, Eastern District of Kentucky,         10 of your personnel records as part of the case, and
     11            Case 5:18-cv-658-JMH, styled, Laura N.       11 I saw that some of the records said that you had a
     12            Woods, Plaintiff, versus The Standard        12 home address on Windsor Station Drive in Windsor,
     13            Fire Insurance Company, Defendant.           13 Connecticut. Is that -- is that current?
     14                Our court reporter is Marybeth           14 A          No, it is not.
     15            Sowards, and I'd ask counsel to please       15 Q          What is your current address?
     16            introduce themselves and state whom          16 A
     17            they represent.                              17
     18                MR. STOLTZ: Good morning. Steve          18 Q          We won't contact you unless for some
     19            Stoltz and Stefan Bing for the               19 reason you left Travelers and -- and we needed to
     20            plaintiff, Laura Woods.                      20 -- to find you.
     21               MR. KELLER: Good morning. Stephen         21           Also there were some phone numbers in
     22            Keller for defendant, Standard Fire          22 the records, and I just wanted to check with you
     23            Insurance Company.                           23 and see if any of these are current. One ends in
     24                VIDEOGRAPHER: All right; thank           24 8122.
     25            you. The court reporter will now swear       25 A          Yes.

                                                           6                                                          8

      1            in the witness.                               1   Q          That's current? Okay. And another
      2              ------------------------                    2   ends in 0553.
      3                 ENANTE DAROUT,                           3   A          No, that is not.
      4   having been first duly placed under oath, was          4   Q          Okay. And then another ends in 0668.
      5   examined and testified as follows:                     5   A          Yes, that is.
      6                  EXAMINATION                             6   Q          Okay. If Mr. Keller and I are not
      7   BY MR. STOLTZ:                                         7   successful in resolving this matter between the
      8   Q         Please state your name.                      8   parties we'll have a trial and need to pick a jury,
      9   A         Enante Darout.                               9   and I just need to ask you if you have any family
     10   Q         Good morning, Ms. Darout. As I said,        10   that live in Kentucky.
     11   my name is Steve Stoltz. This is a deposition.        11   A          No, I don't.
     12   You're an attorney; correct?                          12   Q          Okay. Want to ask you a few questions
     13   A         Correct.                                    13   about your education. Is that okay?
     14   Q         And are you familiar with the               14   A          Sure.
     15   deposition procedure?                                 15   Q          You are a Rutgers grad, went undergrad?
     16   A         lam.                                        16   A          Yes.
     17   Q         Okay. So I'm not going to go through        17   Q          And you were there from 2004 to 2009?
     18   the rules about say yes and no, not huh-uh and        18   A          Correct.
     19   uh-huh, and that sort of thing.                       19   Q          Linguistics major?
     20            Are you -- are you under any kind of         20   A          Yes.
     21   condition or taking any medication that might         21   Q          And French?
     22   affect your ability to give truthful testimony        22   A          I'm sorry?
     23   today?                                                23   Q          Did you also major in French?
     24   A         No.                                         24   A          No.
     25   Q         I need to ask you a few personal            25   Q          Any other majors?


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                                                            9                                                        11
      1   A        No other majors.                              1   sorry.
      2   Q        Okay. And then you started law school         2   Q          No. Do you know whether that's true?
      3   in 2011?                                               3   A          I can't say for certain whether that's
      4   A         Correct.                                     4   true or not. I passed the first time.
      5   Q         Okay. So what -- what did you do             5   Q          Good. So you were -- you were living
      6   during the gap period between 2009 and starting law    6   in New Jersey when you applied to law school?
      7   school in 2011?                                        7   A          I was.
      8   A         I worked.                                    8   Q          Okay. There are lots of law schools
      9   Q         Okay. Who'd you work for? What'd you         9   that surround New Jersey, Connecticut, very good
     10   do?                                                   10   law schools. Tell me why you chose Cooley.
     11   A         I was a group facilitator at YCS, a         11   A          Cooley was one of the few schools that
     12   group home organization in New Jersey.                12   I applied to, and so that was one of the schools
     13   Q         Okay. And you went to Cooley Law            13   that accepted me, and --
     14   School--                                              14   Q          And that's in -- go ahead.
     15   A         I did.                                      15   A          I'm sorry?
     16   Q         -- and got your J.D., your Juris            16   Q          No, go ahead. I'm sorry; I cut you
     17   Doctorate degree, which is a degree that lawyers      17   off.
     18   get?                                                  18   A          And so I attended.
     19   A         Correct.                                    19   Q          Okay. And it's in Lansing, Michigan?
     20   Q         And then you stayed an additional year,     20   A          It is.
     21   2013 to 2014, and got an LL.M. from Cooley;           21   Q          What was it about Cooley that attracted
     22   correct?                                              22   you to apply?
     23   A         Correct.                                    23   A          I don't know if there's any one thing
     24   Q         And that is in finance and corporate        24   that attracted me to apply. At that time I was
     25   law?                                                  25   applying to a few schools, and so that was just one

                                                           10                                                        12
      1   A          Correct.                                    1   of the schools that I applied to.
      2   Q          Okay.    Is Cooley a good law school?       2   Q          What other schools did you apply to?
      3   A          I think that opinion is subjective or       3   A          If I remember correctly -- mind you
      4   objective, depending on who you ask.                   4   this was years ago.
      5   Q          Do you think Cooley Law School is a         5   Q          Sure.
      6   good law school?                                       6   A          -- there was a school in Florida,
      7   A          I got a really good education from that     7   Florida Coastal I believe. I might have that
      8   law school.                                            8   wrong. I can't recall. I can't recall the other
      9   Q          Okay. Are you aware of bad press that       9   schools.
     10   Cooley's gotten about its rank quality?               10   Q          Okay.
     11   A          Once I graduated I did not pay             11   A          But I know that there were a few.
     12   attention to any press that came out regarding the    12   Q          Okay. Did you get in -- into any?
     13   school.                                               13   Were you accepted in any other schools?
     14   Q          Do you know why there's so much bad        14   A          I believe I may have been to -- I can't
     15   press about Cooley?                                   15   recall. I can't recall, to be honest. It was so
     16   A          No, I do not.                              16   long ago.
     17   Q          Do you know whether it's true that less    17   Q          Thank you. That's fine. You are a
     18   than half of their graduates pass the bar exam the    18   licensed attorney in Pennsylvania and New Jersey?
     19   first time?                                           19   A          In New Jersey currently.
     20   A          I'm sorry; ask that -- I'm sorry; can      20   Q          Okay. And I saw that you were
     21   you repeat that?                                      21   administratively suspended in Pennsylvania. Can
     22   Q          Sure. Do you know why -- do you know       22   you tell that story?
     23   whether it's true that less than half of its          23   A          It was essentially for nonpayment. It
     24   graduating classes pass the bar for the first time?   24   was difficult as a younger -- younger person to
     25   A          Do I know why is the question? I'm         25   handle both fees, and so I -- I was -- because I


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                                                              13                                                            15
      1 lived in New Jersey I -- I essentially paid for the         1 okay?
      2 New Jersey fees and continue on with those CLE              2 A          Sure.
      3 courses.                                                    3 Q        What did you do to prepare for today's
      4 Q           So Pennsylvania and New Jersey are              4 deposition?
      5   really close together; right?                             5   A           I reviewed the opinion that I drafted,
      6   A          They are.                                      6   the letter that was prepared by you, and some other
      7   Q         Were you -- did you apply to both               7   materials.
      8   states because you didn't know exactly where you'd        8   Q           What were the other materials? Can you
      9   be working?                                               9   be as specific as -- as possible?
     1O   A         Precisely.                                     10   A           The policy, the referral, and some of
     11   Q         And that way you had -- you were more          11   the cases I believe that were noted in each, both
     12   -- basically more marketable to more employers?          12   the letter and my opinion.
     13   A         I believe so.                                  13   Q           Which cases did you refresh yourself
     14   Q         Okay. But once you got your job you            14   of?
     15   didn't need -- with Travelers, you didn't need           15   A        The Hodgewick -- I'm sorry; the
     16   both, so you kind of let the Pennsylvania go?            16   Hodgkiss-Warrick case I believe.
     17   A         Precisely.                                     17   Q        Right.
     18   Q         Okay. What about Connecticut? Have             18   A        The -- the International case, the
     19   you ever been licensed to practice in -- law in          19   Asher case, the LaFrange case, the Lacrosse case,
     20   Connecticut?                                             20   the Thaxton case. Those are the ones that come to
     21   A          I'm authorized as house counsel -- in-        21   mind.
     22   house -- house counsel I believe the title is            22   Q        Okay. Any other re -- any other
     23   called in Connecticut. So I am not licensed in           23   resources, written material, that you reviewed in
     24   Connecticut, but I do have that authorized house         24   preparation for your deposition?
     25   counsel designation.                                     25   A        Sure. I reviewed the -- some of the

                                                              14                                                            16
      1 Q         What does that mean? Can you explain              1 Kentucky statutes you stated in your letter as well
      2 that to the jury?                                           2   as my opinion as well as the Connecticut statutes,
      3   A          Essentially what it means is that I'm          3   some of the Connecticut statutes referenced in the
      4   authorized to practice in-house for Travelers in          4   opinions.
      5   the state of Connecticut.                                 5   Q         Okay. Anything else?
      6   Q          Okay. And that is a designation that           6   A         I don't believe so.
      7   is given by the Connecticut Bar Association?              7   Q         How much time did you spend preparing
      8   A          Correct.                                       8   for this deposition today?
      9   Q          Okay. How about Kentucky? Have you             9   A         Not very long.
     10   ever had or applied for a Kentucky license to            10   Q         So 30 minutes, three days?
     11   practice law?                                            11   A         Oh, I'm sorry. Maybe two or three
     12   A          No.                                           12   days.
     13   Q          For lawyers -- does each state kind of        13   Q         Okay. Did you meet with or discuss the
     14   regulate the lawyers in those states?                    14   case with anyone prior to your deposition?
     15   A          Yes.                                          15   A         With Attorney Stephen Keller.
     16   Q          Have you ever attended any CLE,               16   Q         Okay. Anyone else?
     17   continuing legal education, or seminars under -- on      17   A         No.
     18   Kentucky law?                                            18   Q         Did you review any of the claim
     19   A          No.                                           19   material that Travelers has about this case?
     20   Q          Ever taken any classes or any kind of         20   A         As in --
     21   formal education of -- of whatever nature                21   Q         Claim notes?
     22   concerning Kentucky law?                                 22   A         Oh, okay; I'm sorry. Claim notes -- I
     23   A          No.                                           23   did not review the claim notes.
     24   Q          I want to ask you a few questions about       24   Q         Okay.
     25   your preparation for today's deposition. Is that         25   A         I did not review the claim file.


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                                                                                         5 (Pages 17 to 20)
                                                          17                                                        19
      1   Q          Okay. Other than Judge Hood's opinion       1   Travelers March of 2015.
      2   on the coverage issue did you review any pleadings?    2   Q          Okay. What'd you do during that time
      3   A          I did not review any of the pleadings,      3   period?
      4   nor did I review the -- what you just mentioned        4   A          I worked for --
      5   written by -- by the judge.                            5   Q          Did you have other employment?
      6   Q          So you did not review Judge Hood's          6   A          Temporarily I worked for Enterprise.
      7   opinion?                                               7   Q          Okay. And then you found a job at
      8   A          I was not provided with Judge Hood's        8   Travelers March of 2015?
      9   opinion.                                               9   A          Yes.
     10   Q          Have you read Judge Hood's opinion?        10   Q          Okay. And your first job as I
     11   A          No, I -- I have not.                       11   understand it was as a technical specialist,
     12   Q          Out of curiosity?                          12   liability?
     13   A          No, I have not.                            13   A          Correct; general liability.
     14   Q          Besides Mr. Keller, what about e-mails?    14   Q          General liability; okay. What
     15   Did you e-mail with anyone or -- or communicate in    15   department were you in?
     16   writing with anyone about the case in preparation     16   A          General liability.
     17   for your deposition?                                  17   Q          Okay. So that's --
     18   A          No.                                        18   A          In--
     19   Q          Do you keep as part of your job --         19   Q          -- that's kind of the department or
     20   attorneys keep time records oftentimes. Do you        20   group?
     21   keep any kind of time records of your time when       21   A          Correct.
     22   you're working at Travelers, you know, working on a   22   Q          Okay.    What were your duties in that
     23   particular matter versus another matter?              23   first position?
     24   A          No, we don't keep -- I don't keep time.    24   A          So it -- it really truly dealt with
     25   Q          Okay. Has that always been the case        25   everything that -- you know, that -- that falls

                                                          18                                                         20
      1 during your time at Travelers? You've never--            1   within the claim-handling spectrum. You receive
      2 because you've switched positions as I understand        2   first notices of loss, you communicate with the
      3 it. Have you ever had to keep your time?                 3   claimant, the insured, you investigate the claim,
      4 A         No. It was not mandatory for me to             4   you -- if the matter is in suit you facilitate or
      5 keep my time.                                            5   work with the attorney that has been assigned to
      6 Q          You ever given your deposition before?        6   handle the matter, and you work with them until the
      7 A         No.                                            7   -- to the end of the case, however that case is
      8 Q          Okay. Ever been a party to a lawsuit?         8   disposed, and you essentially investigate the claim
      9 A          Yes.                                          9   throughout. You review medical records, you,
     10 Q         I don't want to get in too much; I want       10   again, communicate with various parties that may
     11 to respect your privacy. Can you tell me what it        11   have been involved to essentially get their
     12 was about basically?                                    12   assessment of the -- of the incident, and like I
     13 A          It -- it was years ago. It was about a       13   said, you -- you essentially work through the case
     14 credit card.                                            14   until -- or the matter until it's resolved, whether
     15 Q          Okay.                                        15   it be --
     16 A          Yeah.                                        16   Q           Okay.
     17 Q          That's good. Yeah, that's fine.              17   A           -- through trial or through settlement.
     18 Anything else besides the credit card case?             18   Q           Were there -- were there -- were they
     19 A          No.                                          19   auto cases or other kinds of cases?
     20 Q          Okay. After graduating law school did        20   A           They were general liability cases,
     21 you find a job?                                         21   slips-and-falls, I did work on a couple of
     22 A          Eventually.                                  22   homeowner cases, so for the most part, you know, it
     23 Q          Okay. How long was it between the time       23   was commercial general liability. So you got a lot
     24 you graduated and your first legal job?                 24   of trips-and-falls, slips-and-falls, and things of
     25 A          I graduated in 2014. I started with          25   that nature.


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                                                          21                                                        23
      1   Q         So business -- businesses that -- that       1   Q          Gotcha. So as an adjustor, part of
      2   had insurance would -- would get lawsuits over         2   your job was not writing coverage letter --
      3   slip-and-falls and other injuries, and people would    3   coverage opinion letters; correct?
      4   sue the business?                                      4   A          Coverage opinion letters? No, not
      5   A         Correct. And also too, like I                5   coverage opinion letters.
      6   mentioned, I did handle homeowner cases some.          6   Q          Okay. You wrote letters probably to
      7   Q         Okay. So like your tree falls on some        7   insureds and --
      8   --you know, somebody's car or whatever?                8   A          Reserving my -- the rights and --
      9   A         Dog bites. Yes.                              9   Q          Right.
     10   Q         Dog bites, yeah. Okay, okay, okay.          10   A          -- coverage denials and things of that
     11   But at this point you weren't really dealing with     11   -- that nature.
     12   auto cases?                                           12   Q          Right. Okay. Your supervisor was
     13   A         Correct.                                    13   Peter Sanborn?
     14   Q         Okay. So it sounds like you were --         14   A          No. He's my current supervisor.
     15   you started as kind of a -- a claim professional or   15   Q          Okay. Who was your supervisor back
     16   we sometimes call them adjustors?                     16   then?
     17   A         Correct.                                    17   A          Albert Green I believe.
     18   Q         Is that fair? You were basically kind       18   Q          Green like the color or with an E on
     19   of an adjustor?                                       19   it?
     20   A         Correct.                                    20   A          Green like the color, uh-huh.
     21   Q         Although you were an attorney. Did you      21   (Affirmative)
     22   need to be an attorney to be an adjustor, or was it   22   Q          Okay. And you worked in that capacity
     23   a kind of a training thing?                           23   until roughly June of 2018?
     24   A         I did not need to be an attorney to be      24   A          Correct.
     25   an adjustor, but I was.                               25   Q          Okay. So I want to figure out how --

                                                          22                                                        24
      1   Q          Right. And so why did you start as an       1   how it works in terms of getting assignments. I
      2   adjustor?                                              2   work at a private law firm. The older attorneys
      3   A          As opposed to an attorney?                  3   will usually send assignments to the younger
      4   Q          Right.                                      4   attorneys, and we do. How was it that you received
      5   A          I guess that's the question?                5   your assignments as a technical specialist? With
      6   Q          Exactly.                                    6   -- with whom did you interact within the Travelers
      7   A          I see. Okay.                                7   organization? Can you kind of tell that story?
      8   Q          Why didn't you leapfrog over and just       8   A          As a technical specialist, the
      9   start as counsel? Can you tell that story?             9   assignments were simply given to you. There
     10   A          Well, essentially after moving from        10   weren't -- I mean, and after your review -- after
     11   Michigan, where I went to law school, to New Jersey   11   your review of the case or whatever documents or
     12   I applied to various places, and again, I saw that    12   materials you're provided, that discussion is had
     13   one of the aspects of the claim-handling or claim-    13   with the manager to determine whether you kept the
     14   adjusting process is to work through litigation,      14   case or whether the case was -- or whether the
     15   and I thought that I can apply my degree to that      15   claim -- I should say claim, not case -- whether
     16   portion of -- of the job role and responsibility.     16   you kept the claim --
     17   Q          I see. Were you contemplating when you     17   Q          Uh-huh. (Affirmative)
     18   took that job that you would move up and into more    18   A          -- or that the claim should be
     19   of a lawyer kind of role?                             19   elevated.
     20   A          When I took that job in 2015 that          20   Q          Okay. So is that a unit manager that
     21   wasn't in my immediate -- I guess my -- my            21   you'd work with?
     22   immediate thought process. It wasn't in my            22   A          Correct.
     23   purview. It was simply doing the -- the -- the        23   Q          Okay. Is that person considered your
     24   adjusting, and that was my thought process or my      24   supervisor, or is that someone else?
     25   mind set at the time of hiring.                       25   A          That is -- that would be my supervisor.


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                                                                                          7 (Pages 25 to 28)
                                                          25                                                         27
      1   Q        Okay.                                         1   Q          You don't remember how you got your
      2   A        That was my supervisor.                       2   assignments?
      3   Q        Okay. And so Mr. Green was your unit          3   A          I do remember that it was a popup. I
      4   manager at that time?                                  4   don't know who assign -- in terms of whether it
      5   A        In 2015, yes.                                 5   came from a unit manager or whether it came from a
      6   Q        Okay. Did -- did your unit manager            6   notice-of-loss department, you know, it could be
      7   become someone else?                                   7   either one, but I'm uncertain as to how they would
      8   A        Over time, yes.                               8   come. I know that they came through the Claim
      9   Q        Okay. What other unit managers have           9   Platform program, but how they were uploaded I
     10   you had?                                              10   can't say for sure.
     11   A        Elizabeth Heebner.                           11   Q          Could you see the Claim Platform
     12   Q        Can you spell her last name?                 12   program on your phone?
     13   A        H-e-e-b-n-e-r.                               13   A          No. No.
     14   Q        Anyone else?                                 14   Q          Was it only accessible if you were in
     15   A        No.                                          15   the Travelers office where you were designated?
     16   Q        So how did you get your assignments?         16   A          For me at least it was.
     17   Did someone hand you a piece of paper, did you get    17   Q          Okay. Are the notes, the information
     18   an e-mail, was it an internal communication within    18   that you insert in the Claim Platform on a
     19   a Travelers communication system?                     19   particular case, is that information preserved by
     20   A        The latter.                                  20   Travelers?
     21   Q        Okay. So an internal communication           21   A          I believe so.
     22   system within Travelers? What is that system          22   Q          Can it -- can it be accessed by the
     23   called?                                               23   appropriate people, do you know, unit man --
     24   A        Claim Platform.                              24   A          The appropriate --
     25   Q        And it's only accessible by Travelers        25   Q          -- unit managers --

                                                          26                                                         28
      1   employees?                                             1   A          The appropriate --
      2   A          Correct. I believe so.                      2   Q          -- for example?
      3   Q          Okay.                                       3   A          The appropriate people, I believe so.
      4   A          I -- I believe so.                          4   Q          Okay.
      5   Q          Does it function like e-mail? Are           5   A          The unit manager would be one of them I
      6   there electronic messages that go between people?      6   believe.
      7   A          In Claim Platform? I -- I believe           7   Q        Okay. And back in 2015 did you also
      8   there can be notes. I believe unit managers can        8   use e-mail to communicate with third parties
      9   insert notes if necessary so that it can alert the     9   outside of Travelers?
     10   claim professional of whatever that they need to be   10 A            I would.
     11   alerted about. But in terms of like an instant        11 Q            Okay. Is that e-mail, would it be
     12   messaging feature, something like that, I don't       12   available on your phone, or was it also only
     13   believe there is one. I could be -- I could be        13   accessible if you were in the office?
     14   wrong, but I don't believe there is one.              14   A          For me it was only accessible in the
     15   Q          I see. So -- so through the -- the         15   office at that time.
     16   Claim Platform you would get a new assignment from    16   Q          Okay. Yeah, and we're talking about--
     17   someone?                                              17   still about working as a technical specialist.
     18   A          Correct.                                   18   A          Right.
     19   Q          Would you get assignments from your        19   Q          Did your job as a technical specialist
     20   unit manager, or would you get assignments from       20   involve analyzing the law and giving legal advice?
     21   other people?                                         21   A          No.
     22   A          I believe it was -- and I don't want to    22   Q          So after a few years, looks like about
     23   -- I don't want to guess here, so I don't want to     23   three years roughly, you moved into another
     24   say the wrong thing. So I -- I cannot say for         24   position --
     25   certain how that works.                               25   A          Correct.


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                                                                                          8 (Pages 29 to 32)
                                                          29                                                         31
      1   Q          -- with Travelers?                          1   Q         Okay. Write coverage opinion letters?
      2   A          Correct.                                    2   A         I did.
      3   Q          What was that position?                     3   Q         Were you required to have a legal
      4   A          In June of2018 I started a secondment,      4   degree for this position?
      5   or a talent share program, where I reported to a --    5   A         Yes.
      6   to a claim legal liability in -- in Hartford. That     6   Q         So you were using your -- your law
      7   was about six to seven months that I did that.         7   degree?
      8   Q          You called it a secondment?                 8   A         Correct.
      9   A          Well, they called it secondment.            9   Q         Okay. Who was your supervisor in -- in
     10   Q          Secondment?                                10   this secondment role?
     11   A          Correct.                                   11   A         Katie Pak was her -- Katie Roh was her
     12   Q           So like second ment?                      12   married name, but she was Katie Pak at the time.
     13   A          Right.                                     13   Q         Roh, R-o-h?
     14   Q          What is -- what is that?                   14   A         You got it.
     15   A          A secondment is -- is essentially --       15   Q         So same kind of question about how you
     16   how I interpret it to be because, quite frankly, it   16   got your assignments. Did that change?
     17   was the first time I've heard of that term too, I     17   A         It did.
     18   equate it to a talent share where it would allow me   18   Q         And -- and how? Tell me the story of
     19   to take on a -- a new role and essentially            19   that process, how you got your assignments and how
     20   experience that -- that new role and everything       20   you communicated, et cetera.
     21   that -- that it entailed, so --                       21   A         And so those assignments were given to
     22   Q          Okay. And your title was associate         22   me by an assigning attorney, so they wouldn't
     23   counsel?                                              23   necessarily come from Katie. And I would work with
     24   A          Correct.                                   24   the assigned -- well, the attorney who assigned the
     25   Q          And your department was claim legal?       25   matter to me to draft, issue, and render the

                                                          30                                                         32
      1   A          Claim legal liability.                      1   opinion.
      2   Q          Claim legal liability?                      2   Q         Were the assigning attorneys all in the
      3   A          Correct.                                    3   same physical office as you were, or were they
      4   Q          So this -- would it -- would you call       4   scattered throughout?
      5   it like an internship?                                 5   A         They were scattered throughout the U.S.
      6   A          It is similar in -- in many ways to --      6   Q         Okay. How did they choose you?
      7   Q          I mean, it was paid obviously.              7   A         I'm not exactly sure how they chose me.
      8   A          -- to an internship.                        8   I mean, I wasn't part of that process.
      9   Q          Or maybe a clerkship? Was it like a         9   Q          Okay. So they would not send their
     10   clerkship --                                          10   request to Katie Roh and ask Katie Roh to -- to
     11   A          I wouldn't call it --                      11   find someone to do this particular task? You would
     12   Q          -- in private practice?                    12   -- you would get your assignment directly from
     13   A          I wouldn't call it a clerkship.            13   attorneys probably that you didn't personally know;
     14   Q          No? Okay. Okay. So you were -- you         14   is that correct?
     15   were hired and moved to kind of learn this new --     15   A         I would get the -- I would get my
     16   new job essentially?                                  16   assignments through -- through the assigning
     17   A          It was an opportunity to -- to             17   attorney. Whether they had a conversation with
     18   experience a -- a new role.                           18   Katie or not I can't say. I do not know. But the
     19   Q          New role? Okay. Okay. And unlike the       19   assigning attorney -- the attorney assigning the
     20   technical specialist, was this new role more of a     20   matter would simply reach out to me.
     21   lawyer, attorney, position?                           21   Q          How would they reach out to you?
     22   A          Correct.                                   22   A         Either via e-mail or phone call,
     23   Q          And did you provide legal advice, deal     23   sometimes both.
     24   with coverage issues?                                 24   Q          Okay. So this was the standard e-mail
     25   A          I did.                                     25   that we're familiar with, not the internal Claim


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                                                          33                                                        35
      1   Platform?                                              1   you typically -- for a coverage question, what
      2   A          Correct.                                    2   kinds of things typically would you review?
      3   Q          Okay. And is there a roster of people       3   A          Usually it would be the claim notes,
      4   like you that -- that -- I mean, how did they come     4   the claim file, file cabinet. That's where the
      5   to find you?                                           5   documents are housed. I would jump on Westlaw to
      6   A          I -- I -- I think or I believe I was        6   determine -- or to do my -- to do my legal
      7   the -- the only associate counsel in -- in the         7   research, and any other resources that I -- that I
     8    liability group at the time, and so it wasn't hard     8   could find to help provide some guidance in
     9    to find me.                                            9   whatever issue that I'm researching.
    10    Q          Yeah. Okay. So if you needed-- let's       10   Q          Okay.
    11    say you got a assignment to do a coverage opinion     11   A          So I wasn't limited to simply what was
    12    on some issue. You would get an e-mail and/or a       12   provided to -- to me.
    13    phone call or maybe both from your assigning          13   Q          Gotcha. Okay. Were there any other
    14    attorney?                                             14   outside resources that you would utilize typically
    15    A          Correct.                                   15   other than -- than Westlaw?
    16    Q          And you-all could talk about what they     16   A          No.
    17    needed from you and et cetera, and then you'd be on   17   Q          Okay. Yeah.
    18    your own basically to figure it out and produce       18   A          Maybe if -- if there was something that
    19    some kind of work product. Is that -- is that         19   I could find on Google Scholar I would absolutely
    20    fair?                                                 20   use that, but, I mean --
    21    A          They -- yes. They would -- we would        21   Q          You weren't limited in what you could
    22    discuss the -- the referral. At that point if I       22   take a look at to help you?
    23    had any questions I would -- I would ask. And then    23   A          Correct.
    24    I would be off to do my own research, to draft, and   24   Q          Okay. I'm not saying you should've
    25    then I would circle back with the assigned --         25   been. I'm just trying to figure out your typical

                                                          34                                                         36
      1   assigning attorney to discuss what I -- what I --      1   kind of process.
      2   what I concluded. And if there were changes or         2   A         I mean, oftentimes the -- the materials
      3   edits that needed to be made because of my grammar     3   would be presented to me that I would need to
      4   or some sort, or if they wanted to review the cases    4   review --
      5   that I pulled, they would -- we would -- we would      5   Q         Right.
      6   do that at the time, and then we would issue the       6   A         -- but I wasn't limited.
      7   opinion.                                               7   Q         Right. So this secondment kind of
      8   Q          Okay. And would -- would all the            8   position, it lasted until when? Started June of
      9   materials that you needed to do a particular job,      9   '18.
     10   write a particular letter let's say, would all of     10   A         January?
     11   those be provided by the assigning attorney, or       11   Q         I have February of '19.
     12   could you independently -- let's say the matter       12   A         February.
     13   involved a car wreck, and Travelers had claim         13   Q         Does that sound right?
     14   notes, they had materials regarding that traffic --   14   A         Yep.
     15   that car wreck, maybe a police report. Could you      15   Q          Okay. And then what happened then?
     16   independently find those materials, or did they all   16   Where --where'd you go?
     17   have to come from the assigning attorney?             17   A         Then I became -- I applied to the claim
     18   A          I could independently find those           18   legal property unit, and I became associate counsel
     19   materials.                                            19   with claim legal property.
     20   Q          Okay. So you probably had a claim          20   Q          Okay. And then you -- in April '20 you
     21   number, and with that claim number you -- you had     21   moved into an associate counsel, corporate legal
     22   authority to look at the -- the records about that    22   services, position?
     23   particular matter?                                    23   A         Correct. Corporate legal. Yes, that's
     24   A          I could.                                   24   correct. That's correct.
     25   Q          Yeah; okay. What kinds of things would     25   Q          And that's where you are today?


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                                                          37                                  39
    1   A         Correct.
    2   Q         Okay. So let's go back to the
    3   secondment job. Did that job involve -- unlike the
    4   technical specialist, did that job involve
    5   analyzing the law and giving legal advice?
    6   A         I'm sorry; can you repeat the question?
    7   Q          Sure.
    8   A         I missed it.
    9   Q          Sure. The secondment position, the                                     .
   10   talent share position, did that involve analyzing                          .
   11   the law and giving legal advice?
   12   A         It did.
   13   Q         Because you said when you were in the
   14   adjustor position you didn't really-- that wasn't
   15   part of your duties, but -- but it was with -- with
   16   the second position?
   17   A         Correct.
   18   Q         Okay.
   19   A         Actually, to clarify -- just a
   20   clarifying point.
   21   Q         Yeah, go ahead.
   22   A         We reviewed law as -- as an adjustor.
   23   However, we did not render advice. There were case
   24   law that we were -- that we were well-versed in
   25   because simply the impact that they may have, so

                                                          38                                  40
    1   there were cases that we just knew, but we never --
    2   at that point never rendered legal -- legal opinion
    3   as a claims adjustor. Sorry.
    4   Q          Gotcha. I understand. Thank you for
    5   the clarification.
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                                                          49                                                        51
    1                                                           1   A          No, I can't remember any.
    2                                                           2   Q          Have you ever written a coverage
    3                                                           3   opinion letter involving Kentucky law besides
    4                                                           4   Woods?
    5                                                           5   A          I can't recall.
    6                                                           6   Q          Prior to the November 28th, Exhibit 28,
    7                                                           7   had you ever given anyone advice based upon -- as
    8                                                           8   an attorney based upon Kentucky law?
    9                                                           9   A          I can't recall. I don't believe so,
   10                                                          10   but I can't -- can't recall for certain.
   11                                                          11   Q          So I want to go back. This is the
   12                                                          12   product, the work product, dated November 28th,
   13                                                          13   Exhibit 28. That -- that was the product of your
   14                                                          14   work on Woods?
   15                                                          15   A          Correct.
   16                                                          16   Q          Okay. I want to go back before that
   17                                                          17   and kind of go through real quickly a little bit of
   18                                                          18   history.
   19                                                          19            By the way, Ms. Darout, if you need to
   20                                                          20   take a break at any time, just let us know and --
   21                                                          21   and anybody else, and we'll take a break; okay?
   22                                                          22   A          Okay.
   23                                                          23   Q          Are you good to go?
   24                                                          24   A          Yes.
   25                                                          25   Q          Okay. I want to first look at Woods --

                                                          50                                                        52
    1                                                           1   the Woods Exhibit 16. I shared that folder.
    2                                                           2   Hopefully you got it. So there's a separate folder
    3                                                           3   called, Woods Exhibits, and let's go to 16. Excuse
    4                                                           4   me. Yes, that's right.
    5                                                           5            So we sent a collection of materials to
    6                                                           6   Travelers early in September of' 18 with all the
    7                                                           7   medical bills and -- and pictures and so forth and
    8                                                           8   made a demand for the policy limits. And this was
    9                                                           9   the response by Paul Galanski. This is Exhibit 16
   10                                                          10   in the Woods deposition. It's an e-mail dated
   11                                                          11   October 5th, 2018. Have you seen this before,
   12                                                          12   Ms. Darout?
   13                                                          13   A         No, I have not.
   14   Q        Was this the first one, 26?                   14   Q         Okay. So he's writing to confirm a
   15   A        I be -- I'm sorry?                            15   settlement offer in the amount of $39,000, new
   16   Q        Excuse me. Go ahead.                          16   money, to resolve the pending underinsured motorist
   17   A        I believe it --                               17   bodily injury claim on behalf of your client, Laura
   18   Q        Twenty-eight. Twenty-eight.                   18   Woods. This offer is inclusive of medical bills,
   19   A        I believe it -- it was -- I believe it        19   lost wages, out-of-pocket expenses, and/or liens.
   20   was.                                                   20   This figure represents the available $100,000 each
   21   Q          Okay. How many before the Woods             21   person policy limit less credits for payments by
   22   letter, Exhibit 28, how many of your coverage          22   the tortfeasor of 50 and MP/PIP that totals 11,000.
   23   letters involved Kentucky law?                         23   Our calculation for setoffs equals $61,000, leaving
   24   A          Can't say many.                             24   39,000 in available coverage. Please see the
   25   Q          Can you remember any?                       25   attached policy, payout ledger, and release for


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                                                       53                                                         55
    1   your client's signature.                              1   A         I don't understand the -- the question.
    2             Does that scenario sound familiar to        2   Q         Is there some -- is there some coverage
    3   you?                                                  3   that's required in Kentucky that was paid?
    4   A          Yes.                                       4   A         From what I understand, Kentucky does
    5   Q          And he attaches -- there's where we        5   have that $10,000 PIP payment max.
    6   sent it, sent the information to him on September     6   Q         Okay. And that's required because the
    7   14th, and so he responded on October 5th and          7   loss was in Kentucky?
    8   attached the policy and the PIP ledger and a          8   A         Correct.
    9   general release. You've not seen any of this          9   Q         Okay. So we were not satisfied with
   10   material?                                            10   that, and so we spent the next two or three weeks
   11   A          No.                                       11   analyzing the policy and writing a coverage opinion
   12   Q          Okay. But you don't have any              12   letter that we sent to Mr. Galanski -- I'm on
   13   information that it didn't occur, do you?            13   Exhibit 26 now -- we sent to him on October 30th of
   14   A          No. I don't have any information at       14   '18. Do you see that?
   15   all.                                                 15               (Said document is filed with this
   16   Q          Okay. So he responds October 5th. And     16            deposition and marked as Plaintifrs
   17   then -- so I want to look at Exhibit 25. This is a   17            Exhibit No. 26 for purposes of
   18   new exhibit. So Mr. Galanski says there's a          18            identification.)
   19   $100,000 limit, but we have to take away the         19   A         Can you zoom in, please?
   20   $50,000 that Ms. Woods got from Eaves/USAA, and      20   Q         Sure. Is that any better?
   21   then you got to take away the $10,000 of sometimes   21   A         Yes. Yes. Better, thank you. Yes,
   22   it's called O-P-I-P, out-of-state PIP; right?        22   October 30th is when it was sent.
   23                (Said document is filed with this       23   Q         Dear Mr. Galanski, please see the
   24             deposition and marked as Plaintifrs        24   attached letter regarding the coverage/setoff
   25             Exhibit No. 25 for purposes of             25   issue. So the issue is Ms. Woods thinks you can't

                                                       54                                                         56
    1            identification.)                             1 offset by any of these items, and Travelers thinks
    2   A         Uh-huh. (Affirmative) Yes.                  2 that they can; right?
    3   Q         You have to say yes. Okay; thanks.          3 A         Yes.
    4   And then 1,000 of med pay; right --                   4 Q         And it comes down to a question of
    5   A         Yes.                                        5 whether Kentucky or Connecticut law applies to this
    6   Q         -- for a $39,000 offer. So is Eaves         6 particular loss; correct?
    7   the fellow who was responsible for the car wreck?     7 A         Correct.
    8   Did he -- is he the one that crossed the              8 Q         Okay. And so have you seen this,
    9   centerline?                                           9 Exhibit 26?
   10   A         From my understanding, yes.                10 A         No, I have not.
   11   Q         Okay.    Explain what med pay is.          11 Q         So attached is a 15-page letter that we
   12   A         Med pay from what I understand is how      12 wrote. Have you seen that?
   13   we actually write it in the policy. It's -- it's     13 A         I have.
   14   an amount that based on certain circumstances that   14 Q         Okay. Fifteen pages; correct?
   15   would be paid -- that would be paid regardless of    15 A         Correct.
   16   fault.                                               16 Q         And then you did your thing and came up
   17   Q         Okay. And so it covers medical bills       17 with a letter dated November 28th of 2018, which is
   18   up to 1,000?                                         18 Exhibit 28; correct?
   19   A         It does cover medical bills up to          19 A          Correct.
   20   1,000.                                               20 Q         Okay. That was not shared with us at
   21   Q         Co-pays, prescriptions, that sort of       21 the time, but Mr. -- it was communicated to us.
   22   thing?                                               22 Let me see ifl can find it. Woods Exhibit 19. So
   23   A         Correct.                                   23 we got Exhibit 19, which is Woods Bates 2356, from
   24   Q         Okay. What about PIP, out --               24 Matt Parsons. And so -- so your letter was
   25   out-of-state PIP? What -- what is that?              25 November 28th, and on December 6th he wrote to us


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                                                        57                                                         59
    1   and said, we have completed our review and believe     1   A          I -- I don't know.
    2   Connecticut law would govern and we're able to take    2   Q          Okay.
    3   the offsets on the matter. The offer stands at the     3   A          I don't know what happens to it after
    4   remaining applicable UIM limits of 39,000. Please      4   that.
    5   advise.                                                5   Q          So you think you got an e-mail from
    6            Have you seen that?                           6   Ms. Allen?
    7   A          No.                                         7   A          If not an e-mail then it was a
    8   Q          Okay. And the rest is history, as they      8   communication, it was a direct conversation. I'm
    9   say. Tell me -- so that's the background to your       9   not exactly sure.
   10   getting this assignment to write this letter. Tell    10   Q          Do you-all work in the same building or
   11   me how you got the assignment. How did you -- how     11   is she in a different location?
   12   did you receive it? Go ahead.                         12   A          We were in the same building at that
   13   A          I believe it was sent via e-mail.          13   time.
   14   Q          From -- go ahead.                          14   Q          Okay. So who was sort of your
   15   A          I believe it was sent via e-mail by        15   supervisor or boss on this -- on this assignment?
   16   Patricia -- Patricia Allen.                           16   A          Patricia Allen.
   17   Q          Who is she?                                17   Q          It wasn't Katie Roh?
   18   A          She was the one who supervised this        18   A          She is the supervising attorney of the
   19   assignment.                                           19   entire secondment program, but Patricia Allen was
   20   Q          And she is with what department?           20   the one who assigned this matter to me. As I
   21   A          Claim legal auto.                          21   mentioned before, I work with the attorney who
   22   Q          Okay. Okay. So you believe that            22   assigns the case or assigns the referral to me.
   23   Patricia Allen sent you a e-mail or communication?    23   Q          So if you have a question you go to the
   24   A          I believe so. Either it was an e-mail      24   assigning attorney?
   25   communication or perhaps she spoke to me and then     25   A          Precisely.

                                                        58                                                         60
    1   it was forwarded to me, but I do remember that I       1   Q          Okay. Do you know why Patricia Allen
    2   had a communication with her prior to actually         2   selected you?
    3   getting my hands on the assignment, prior to           3   A          I do not know why.
    4   receiving it.                                          4   Q          Do you know why she did not retain
    5   Q          Okay. And what did the assignment say       5   coverage counsel in Kentucky to do this?
    6   if it was -- if it was in writing, or what did she     6   A          I do not know why.
    7   say?                                                   7   Q          Travelers has outside counsel, like
    8   A          I can't recall as I don't have that         8   Mr. Keller, Mr. Maloney, who represent it in
    9   e-mail. If it was an e-mail I know I don't have        9   coverage matters in Kentucky and elsewhere;
   10   it.                                                   10   correct?
   11   Q          Have you -- have you looked for it?        11   A          I'm sorry? Stephen Keller?
   12   A          I'm sorry?                                 12   Q          Travelers has panel counsel that handle
   13   Q          Have you looked for the e-mail?            13   defense and coverage matters for it in probably 50
   14   A          No, because I know that at least           14   states but including Kentucky; correct?
   15   Travelers back then had a two-year retention policy   15   A          I believe so, yes.
   16   on e-mails, so when -- when I -- when I learned of    16   Q          Okay. I'm just curious why Travelers,
   17   this deposition, that -- that -- that was long        17   Patricia Allen, chose you as opposed to somebody
   18   gone.                                                 18   who is licensed in Kentucky. Do you -- do you
   19   Q          What is their retention policy?            19   know?
   20   A          On e-mails I believe it's two years        20   A          I'm sure it had something to do with
   21   they hold it.                                         21   the fact that she was confident in the work product
   22   Q          And they automatically then delete         22   that I have provided before.
   23   it --                                                 23   Q          Have you worked for -- for her before?
   24   A          They--                                     24   A          No, not for her specifically before,
   25   Q          -- or they archive it somewhere?           25   no. But I'm sure that -- you know, that I -- my --


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                                                                                      16 (Pages 61 to 64)
                                                        61                                                         63
    1   my work and my reputation as being a competent         1   A           I have a LL.M. in corporate law and
    2   attorney, being able to research items and come to     2   finance.
    3   sound conclusions, could've been part of it. I did     3   Q           Finance?
    4   good work, and so maybe that had something to do       4   A           So you're asking me what again?
    5   with it.                                               5   Q           Well, I asked you if it was less
    6   Q         Had you done other coverage letters for      6   expensive for Travelers to ask in-house staff to
    7   claim legal auto?                                      7   write legal opinions rather than outside counsel in
    8   A         I have.                                      8   Kentucky.
    9   Q         Up to that time?                             9   A           Well, obviously if there's not a cost
   10   A         I have.                                     10   associated then there would be some savings, but I
   11   Q         Okay. But not for Ms. Allen?                11   don't think that that speaks to the competency of
   12   A         No, not for Ms. Allen.                      12   the attorney, whether in-house or outside counsel,
   13   Q         Is it less expensive for Travelers to       13   in handling the matter.
   14   ask in-house staff to write legal opinion letters     14   Q           I'm just talking about the financial.
   15   rather than hiring outside counsel in Kentucky?       15   A           And I think I responded to your
   16   A         Perhaps. I don't know. I don't know         16   question.
   17   what the costs are.                                   17   Q           So the answer is yes, they -- it is
   18   Q         You don't see the bills from outside        18   less expensive. And then my next question was, if
   19   counsel, defense counsel?                             19   Travelers saves on expenses, does its profit go up?
   20   A         I haven't seen a bill while during a        20   A           I don't necessarily think those two are
   21   secondment for outside coverage for -- for a          21   -- are -- they tie all the way 100 percent because
   22   coverage opinion, no.                                 22   there are factors aside from that that would go
   23   Q         Did you -- did you see attorney bills       23   into allocating or calculating profits, but --
   24   when you were in your adjustor position?              24   Q           Okay. I'm going to show you Exhibit
   25   A         Yes.                                        25   27, Ms. Darout. Do you see that, Exhibit 27?

                                                        62                                                         64
    1   Q          Because you were kind of managing           1                (Said document is filed with this
    2   litigation?                                            2             deposition and marked as Plaintiffs
    3   A         Precisely ..                                 3             Exhibit No. 27 for purposes of
    4   Q          Okay. If -- if Travelers reduces its        4             identification.)
    5   expenses by -- by letting in-house people do           5   A           Yes.
    6   coverage letters, does Travelers' profits increase?    6   Q           Okay. What is that?
    7               MR. KELLER: Objection --                   7   A           That is the referral for this -- for
    8   A         I wouldn't know --                           8   this matter.
    9               REPORTER: I'm sorry? I didn't get          9   Q           Okay. Well, it looks to be an e-mail;
   10            that.                                        10   is that true?
   11               MR. KELLER: Sorry. I just said            11   A           Yes, it is in e-mail form, but -- but
   12            objection to the form, but go ahead.         12   that is the request for legal advice, the referral
   13   Q          Let me rephrase. If Travelers reduces      13   as we call it.
   14   its expenses by not hiring qualified counsel in       14   Q           Okay. That's a referral. So that's --
   15   Kentucky to address Kentucky law issues, does         15   this is one of the ways you get an assignment?
   16   Travelers see an increase in profits?                 16   A           One of the ways.
   17   A         I would not know anything about that        17   Q           Okay. Do you always get a formal
   18   profit margin.                                        18   request for advice kind of document for each
   19   Q          So you don't know whether if Travelers     19   assignment?
   20   spends less it makes more?                            20   A           No.
   21   A         If Travelers --                             21   Q           Okay. Sometimes it's less formal?
   22   Q          Don't you have a master's in corporate     22   A           Yes.
   23   finance?                                              23   Q           Okay. So this is asking for -- it's
   24   A         I'm sorry?                                  24   got a claim number, and it's October 31, '18. And
   25   Q          Don't you have an LL.M. in finance?        25   it says, claimant, Laura Woods. So have you --


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                                                                                      17 (Pages 65 to 68)
                                                        65                                                         67
    1   have you seen this before?                             1             Attached files to this, looks like the
    2   A           I have.                                    2   insurance policy, Newberry policy, is attached as a
    3   Q           Okay. And it goes through some of the      3   PDF. Do you agree?
    4   -- what the issue, and it says the claim adjustor's    4   A           Correct. I do agree.
    5   Matt Parsons and his unit manager is Chris Pencak      5   Q           And then Kentucky offset language
    6   is it, P-e-n-c-a-k?                                    6   letter, I assume that's my letter.
    7   A           Correct.                                   7   A          I believe you're right.
    8   Q           Do you know Chris?                         8   Q           Okay. Were there any other materials
    9   A           I do not.                                  9   that Matt or Mr. Pencak or Ms. Allen supplied to
   10   Q           Okay. Do you know Matt?                   10   you for this assignment?
   11   A           I do not. I know he's the                 11   A          No.
   12   professional, the claim professional on this          12   Q           Did you independently do some research
   13   matter, but I don't know him.                         13   for this assignment?
   14   Q           Okay. So the e-mail says it was sent      14   A           I cannot recall. I know my, like I
   15   from Matt Parsons to Chris Pencak, cc Matt Parsons,   15   said, normal course of -- oh, no. I'm sorry. My
   16   October 31, '18; is that correct?                     16   entire shelf just fell.
   17   A           Correct.                                  17   Q           Oh, that's okay.
   18   Q           So how did it get to you?                 18   A           I'll pick that up later.
   19   A           I don't know how this went from Matt      19             I know the normal course for me is that
   20   and Chris to the claim legal auto department. All     20   when I receive a claim referral or a referral
   21   I know is that it was either sent to me via e-mail    21   assignment such as this, I would review claim
   22   -- well, it was sent to me via e-mail I believe.      22   review notes and I -- perhaps if necessary based on
   23   I'm not sure if it was because I had that             23   the issue I would review the claim file. I cannot
   24   conversation with Pat and then Matt forwarded the     24   recall, though, my steps here.
   25   referral to me, or whether it was -- I don't          25                  MR. STOLTZ: Can we take a short

                                                        66                                                         68
    1   remember the chain of -- of -- or the order in         1            ten-minute break?
    2   which it got to me in terms of Pat's involvement.      2                 MR.KELLER: Sure.
    3   Q         Okay. Well, I want a copy of that            3                MR. STOLTZ: That be okay? We're
    4   e-mail.                                                4            making good progress. I don't think
    5   A         I -- I don't know if I -- that's what        5            it's going to last too, too long.
    6   I'm saying. I don't know if I have it because,         6                 VIDEOGRAPHER: Okay. The time is
    7   again, when this all arose that was I don't know       7            11 :08, and we're off the record.
    8   how long ago, so, I mean --                            8                 (A brief break is taken.)
    9   Q         You can --                                   9                 VIDEOGRAPHER: We're now back on
   10   A         -- I would --                               10            the video record. The time is 11 :21.
   11   Q         You can address that with Mr. Keller.       11   Q          Ms. Darout, we were talking about what
   12   I've been asking for this e-mail. I want this         12   you reviewed in-- that's part of this assignment.
   13   e-mail. I want you to find it, archive, whatever,     13   But I wanted to go back and ask a couple more
   14   find it.                                              14   questions about the assignment itself, why you, the
   15   A         As I said, I believe that's how it          15   question of why you. Do you know why Travelers or
   16   happened. Again, I cannot be certain.                 16   Ms. Allen didn't select someone internal with
   17   Q         Well, I'm going down here to the bottom     17   Travelers but licensed in Kentucky?
   18   where it says, other participants --                  18   A          Do I know why?
   19   A         Uh-huh. (Affirmative)                       19   Q          Yes.
   20   Q         -- and you're not listed. So somebody       20   A          No, I don't know why, why they made
   21   printed it, walked it down the hall, whatever,        21   their decision.
   22   whatever, it's two or three years old, it's not       22   Q          Does Travelers have Kentucky employees?
   23   forever. I want the e-mail where you got your         23   A          I believe so, but I'm -- I'm not -- I'm
   24   assignment. So you can talk to Mr. Keller about       24   not certain, no. I don't know. I'm not certain.
   25   that after we're -- after we're done.                 25   Q          Do you know if they have anybody in


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                                                        69                                                         71
    1   claim legal that has a Kentucky license?               1   claim. The claim notes is -- is exactly that,
    2   A         I do not know that.                          2   where a claim professional can input claim -- their
    3   Q         Were there other people who were             3   notes into the -- into the -- into the claim, and
    4   interning with you besides just you? Were you the      4   that can be, you know, notes about --
    5   only one you said?                                     5   Q         Okay.
    6   A         I was the only associate counsel, yes.       6   A         Yeah.
    7   Q         Okay. Okay. And this is kind of              7   Q         So if it's a auto wreck you might have
    8   related. Why not someone with some coverage            8   in the claim cabinet, file cabinet, you might have
    9   opinion experience and at least a review by someone    9   photographs, you might have a police report, you
   10   with a Kentucky law background? I guess you don't     10   might have a witness statement --
   11   know why that either.                                 11   A         Precisely.
   12   A         I can't answer that question; correct.      12   Q         -- that kind of stuff?
   13   Q         Okay. So let's go back to materials         13   A         Precisely.
   14   reviewed. We--we've got the Newberry insurance        14   Q          Okay. But the claim notes are the
   15   policy and my letter, the 15-page letter, and you     15   claims -- or the notes that the adjustor makes, you
   16   said you didn't really remember or do you remember    16   know, maybe about telephone conversations that he
   17   anything else that you reviewed as part of this       17   or she has?
   18   assignment?                                           18   A         Precisely.
   19   A         The letter, the referral, the policy.       19   Q          Okay. Okay.
   20   Those were the --                                     20   A         Precisely.
   21   Q         I mean besides -- besides the case law      21   Q          So which do you think you reviewed in
   22   stuff.                                                22   this assignment?
   23   A         Oh, okay. Okay. Yeah, those were the        23   A         I can't recall whether I reviewed one
   24   three items I remember reviewing.                     24   or both or neither or -- because the -- the issue
   25   Q         So the -- you said the claim file or        25   was simply spelled out in the referral, and that

                                                        70                                                         72
    1   the claim notes?                                       1   simply dealt with which state would govern the --
    2   A          Excuse me. Normally in practice, back       2   this choice of law issue.
    3   then at least, when I received an assignment I -- I    3   Q         Okay. And so that's Exhibit 27 you're
    4   would review the claim file and the claim -- look      4   talking about or whatever e-mail that you may or
    5   for the claim file cabinet and the claim notes,        5   may not have that forwarded this thing to you?
    6   depending on what issue I'm -- I'm trying to -- to     6   A         In the referral document, yes.
    7   review or trying to figure out.                        7   Q         Right. Would -- if -- if you received
    8   Q          Okay. Explain to the jury in as simple      8   the assignment from Patricia Allen, would she have
    9   terms as you can --                                    9   added something to this e-mail, maybe some -- maybe
   10   A          Uh-huh. (Affirmative)                      10   Chris Pencak forwards the e-mail to Ms. Allen,
   11   Q          -- what's the difference between the       11   Ms. Allen forwards the e-mail to you, would she
   12   claim file and the claim notes?                       12   have written anything in addition?
   13   A          The claim notes are the actual notes       13   A         I don't recall. I don't know if she
   14   that the claim professional can put in. When I say    14   would or wouldn't have. I don't think anything was
   15   claim file I'm usually referring to the claim file    15   written, but I don't -- I don't know. I can't
   16   cabinet, and that is where the documents can be       16   recall.
   17   stored as it relates to that particular claim.        17   Q          Okay. I'm just trying to get the
   18   Q          Okay. So the claim notes are part of       18   universe of stuff that you looked at.
   19   and located in the claim cabinet?                     19   A         Understand.
   20   A          No. The claim file notes are not           20   Q         Anything else that you remember
   21   located in the claim cabinet. The claim --            21   specifically that you reviewed other than the case
   22   Q          Okay. Where --                             22   law and the statutes?
   23   A          The claim file cabinet is, again, the      23   A         No.
   24   -- where all the documents and -- and -- well,        24   Q          Okay. Let's pull up your letter, which
   25   yeah, documents can be stored relating to that        25   is 28. So the first question I've got is, it looks


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                                                        73                                                         75
    1   to me like these -- this is -- this page, Exhibit      1   A          Correct.
    2   28, this is Travelers 213 to 216, we're on 213         2   Q          You didn't do a supplemental or
    3   right now. Can you see that?                           3   anything, a revised?
    4   A           Yes.                                       4   A          I don't believe so.
    5   Q           It looks to me like there are two          5   Q          Explain to me in as -- and the jury in
    6   documents here on this page. It looks like there       6   as much detail as possible, what did you do to
    7   is a privileged and confidential letter that starts    7   produce this letter?
    8   out, Matt, that's in a particular font and size,       8   A          I read the referral, I reviewed the
    9   and then above it is -- indicates that it was          9   policy, I read your letter, and I performed some
   10   communicated via e-mail with a different font in a    10   research of my own, and I remember drafting it.
   11   different size. And the interesting thing about       11   And in a normal course I send it over to the
   12   this -- and I'm getting to a question -- is this      12   assigning attorney to review, and then once the
   13   kind of trails off down like that, the top part.      13   product is finalized it's sent over to Matt.
   14   Was there some other narrative, words, as part of     14   Q          Okay. And I -- I note here that you
   15   this e-mail that were excluded? In other words,       15   refer to Matt not as Mr. Parsons but Matt.
   16   was this kind of put on a copier and the e-mail       16   A          Uh-huh. (Affirmative)
   17   writing omitted?                                      17   Q          Were    you acquainted with Mr. Parsons?
   18   A           No.                                       18   A          No.
   19   Q           Okay. Because when I look at it, it's     19   Q          You also end it with it says, best,
   20   kind of odd. Usually when I send an e-mail there's    20   Enante.
   21   an attachment and you see an icon for the             21   A          Right.
   22   attachment. But when I print the e-mail it doesn't    22   Q          Or  Enante; sorry.
   23   print the attachment in this way, and if it does,     23   A          Uh-huh. (Affirmative) Yes.
   24   it's all aligned. This kind of drops off. Do you      24   Q          It -- it sounds a little informal and
   25   recall writing an e-mail to Matt Parsons and          25   friendly. You say -- had you met Mr. Parsons

                                                        74                                                         76
    1   attaching this letter as an attachment?                1   before? Had you talked to him before this
    2   A          No.                                         2   occasion?
    3   Q          How did you communicate it to               3   A         No.
    4   Mr. Parsons?                                           4   Q         Okay. Do you remember talking to him
    5   A          It was written in that e-mail, right in     5   by telephone about the assignment at any time?
    6   the --                                                 6   A         I may have. Usually I call the claim
    7   Q          So you wrote -- you wrote the text into     7   professional before issuing the -- the opinion.
    8   the e-mail?                                            8   Sometimes I will call right after I send it -- send
    9   A          Correct.                                    9   the opinion over. But I -- I do speak with the
   10   Q          Okay. And it's -- your letter is four      10   claim professional at the time the opinion is -- is
   11   pages; right?                                         11   rendered.
   12   A          Yeah, I believe so.                        12   Q          You don't have the e-mail that
   13   Q          Okay. And as part of your work --          13   represents I guess the assignment. Tell me in your
   14   okay. So you got this assignment on Novem -- on --    14   own words, what was your assignment?
   15   let's see. I don't want to misquote dates.            15   A         My assignment was to determine which
   16   Exhibit 27 was dated October 31, and this is dated    16   state law governs this -- this setoff issue.
   17   November 28, so that's 28 days. Do you know if you    17   Q          Okay. The reason I ask is you put in
   18   got the assignment on Halloween of 2018 or ifit       18   your letter here -- can you see my red underlining?
   19   took a few days?                                      19   A         No. There you go. Yep.
   20   A          I don't remember.                          20   Q          Because you recite what Mr. Parsons'
   21   Q          Okay. Okay. Anyway, that's 28 days;        21   position is, that the Connecticut written policy
   22   right?                                                22   should prevail -- I think you mean the Connecticut
   23   A          Uh-huh. (Affirmative) Yes.                 23   law should apply -- due to the significant
   24   Q          And this was the only product of your      24   relationship Connecticut has with this loss. That
   25   -- of your work on this assignment; correct?          25   was you describing Mr. Parsons' position; correct?


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                                                        77                                                         79
    1   A         Correct.                                     1   A          An inadvertent misstatement.
    2   Q         Which was Travelers' position; correct?      2   Q          Okay. No problem. So -- so then the
    3   A         Correct.                                     3   next part of the -- of your ietter you go into a
    4   Q         And then claimant's counsel believes         4   factual background, and you talk about Mr. Eaves
    5   the UIM limit of 100 should be tendered, while it's    5   traveling on Military Pike and some of the details
    6   your position that $39,000 should be tendered;         6   of what happened. Do you know where this came
    7   correct?                                               7   from?
    8   A         Correct.                                     8   A          It had to have come from the claim
    9   Q         Okay. And then above that, should            9   notes or the claim file cabinet.
   10   prevails, allowing -- that's a typo; correct?         10   Q          Okay. Okay. And then -- then you go
   11   A         Seems to be, yes.                           11   into and you type part of the policy language; is
   12   Q         And then you say, the claimant -- as        12   that correct --
   13   the claimant has received $61,000, which has been     13   A          Correct.
   14   paid by or on behalf of Eaves. Is that true?          14   Q          -- that you feel is kind of pertinent?
   15   A         It was an inadvertent misstatement.         15   A          Correct.
   16   Q         What would the correct statement be?        16   Q          Okay. And that comes from the un- and
   17   A         That 50,000 was paid by the -- or on        17   underinsured motorist coverage, D1 under the
   18   behalf of Eaves, the tortfeasor, and then the         18   policy; correct?
   19   subsequent -- there's a 10,000 PIP and a thousand-    19   A          Correct.
   20   dollar med pay.                                       20   Q          And there's this language under limits
   21   Q         Those were not paid by or on behalf of      21   of liability, liability, the UIM hundred is limited
   22   Eaves; correct?                                       22   by amounts paid by or on behalf of persons or
   23   A         Correct.                                    23   organizations who may be legally responsible?
   24   Q         Those are no-fault benefits.                24   A          Uh-huh. (Affirmative) Yes.
   25   A         Correct.                                    25   Q          Right. Again, that's referring to in

                                                        78                                                         80
    1   Q          Correct?                                    1   this particular case the $50,000 that Mr. Eaves'
    2   A          Correct.                                    2   insurance company paid; correct?
    3   Q          What does no-fault benefits mean to the     3   A           Correct.
    4   jury?                                                  4   Q           That does not include no-fault
    5   A          Exactly what you stated, that because       5   benefits; correct?
    6   there's no -- there's no fault associated or tacked    6   A           Correct. However, I believe that there
    7   with it, that these monies are -- are simply           7   is statute in Connecticut that addresses direct
    8   granted because of several, you know, various          8   indemnity payments, which although not directly
    9   reasons, one of them being that -- the thousand        9   stated by the policy, I think we can read that in
   10   being that they're medical payments that -- that      10   with subsections that you've highlighted in the
   11   would need to be made, and the 10,000 would be        11   letter but also section B as well of the policy.
   12   because of the location of the accident, and that's   12   Q           Okay. Well, we're going to walk
   13   what the Kentucky law prescribes in -- for -- as      13   through that policy --
   14   far as PIP is concerned.                              14   A           Uh-huh. (Affirmative)
   15   Q          So Ms. Woods had more than $11,000 of      15   Q           -- in more detail --
   16   medical bills and other lo -- they call them          16   A           Sure.
   17   special damages. She had more than -- more than       17   Q           -- shortly, and we can talk more about
   18   that 11, so she was eligible to get the ten plus      18   that.
   19   the one of essentially no-fault benefits under the    19             So the first part of your -- sort of
   20   Travelers policy; is that correct?                    20   the nonfactual part, the analysis part of your
   21   A          Correct.                                   21   letter, the first question that you raise is, is
   22   Q          Okay. That's just -- that 61 is just a     22   there a conflict of laws? Are the laws in
   23   typo basically?                                       23   Connecticut and Kentucky different so that a choice
   24   A          It was a misstatement, yes.                24   needs to be made? Is that right?
   25   Q          Okay.                                      25   A           Correct.


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                                       Enante Darout           10/18/2021
                                                                                      21 (Pages 81 to 84)
                                                        81                                                         83
    1   Q          And you go through a little bit of          1 illM to compensate the insured to be compensated but
    2   Connecticut and some Kentucky, and you recite some     2 for the fact that the tortfeasor was underinsured.
    3   language from the UIM statute in Kentucky, and you     3 A           And your question is, is exactly what
    4   sort of conclude there seems to be a disconnect.       4 am I trying to say there?
    5   So I think that means that you -- you see a            5 Q           Yeah. What are you trying to say
    6   difference in the laws; is that -- is that fair?       6 there?
    7   A          Yes.                                        7 A           I think what I was trying to say there,
    8   Q          Okay. You say one allows for a              8 and it obviously comes off the way that you're -- I
    9   reduction to -- to the extent -- while one allows      9 understand the way that you're receiving it. But
   10   for a reduction to the extent damages are paid on     10 essentially it was supposed to call out that --
   11   behalf of the responsible party, the other would      11 that Kentucky essentially processes it in -- in a
   12   call for the UIM to compensate the insured to be      12 -- in a different way in that, you know, it bases
   13   compensated but for the fact that the tortfeasor      13 the -- the amount off of the -- sorry; things are
   14   was underinsured. I don't understand the second       14 just falling all over the place -- based on the
   15   part of that. It looks like there's maybe a typo      15 total damages as opposed to subtracting it from --
   16   of compensate and compensated. Can you explain to     16 from the -- what we know in Connecticut, from the
   17   me what you're trying to say here?                    17 policy limits.
   18   A          I'm just reading it again.                 18 Q           So Kentucky is damages less limits;
   19   Q          I think the first part is Connecticut,     19 Connecticut is what, limits minus --
   20   damages minus payments, less payments?                20 A           Right. According --
   21   A          I'm sorry; if you could just hold on       21 Q           -- payments?
   22   for a second while I read it.                         22 A           According to -- yes, limits minus
   23   Q          Yeah. Go ahead.                            23 payments, yes.
   24   A          Okay. Now what was the question?           24 Q           Okay. So Kentucky is -- let's say that
   25   Q          What are you saying?                       25 again. Let's say that again. Connecticut --


                                                        82                                                         84
    1   A           That -- and you are correct in that the    1   A          Kentucky is --
    2   first part is trying to assert that -- what            2   Q           Go ahead.
    3   Connecticut -- what Connecticut's position is in       3   A          Kentucky is damages less limits --
    4   that the -- you can reduce it by the amount of         4   Q           Right.
    5   damages paid on behalf of the responsible party,       5   A          -- and Connecticut is limits less the
    6   and the second portion is it's calling out what        6   tortfeasor's liability apportionment.
    7   Kentucky does.                                         7   Q           Okay. So either way we've got a
    8   Q           The other, so -- so the up to              8   conflict there; correct?
    9   responsible party, that --you're talking about         9   A           Correct.
   10   Connecticut there?                                    10   Q           So we need to do the choice-of-law
   11   A           Correct.                                  11   analysis; is that right?
   12   Q           So the other, that's Kentucky; right?     12   A          Uh-huh. (Affirmative) Correct.
   13   A           Uh-huh. (Affirmative)                     13   Q           And we have to do this why?
   14   Q           Would call for the UIM to compensate      14   A          Because there is a conflict.
   15   the insured to be compensated but for the fact that   15   Q           Right. Because the loss is in
   16   the tortfeasor was underinsured. I don't -- can       16   Kentucky, and federal courts sitting in Kentucky
   17   you -- I don't understand that. It doesn't make       17   apply Kentucky law on conflicts; right?
   18   sense to me. Can you explain it? I mean, they're      18   A           I believe that there is an analysis
   19   both underinsured. UIM is not implicated unless       19   that needs to be made in terms of which state's law
   20   the tortfeasor doesn't have enough insurance.         20   governs, that the most significant relationship
   21   That's why they call it underinsured.                 21   test is taken into account when determining --
   22   A           Uh-huh. (Affirmative)                     22   well, not taken into account. It is what we --
   23   Q           The person that ran into Laura Woods      23   what they review. It is a weight of -- it is a --
   24   was underinsured. He only had 50, and she had         24   it's factored based on -- well, it's weighted based
   25   catastrophic damages. The other would call for the    25   on the factors that is allotted in I think the


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                                       Enante Darout           10/18/2021
                                                                                      22    (Pages 85 to 88)
                                                        85                                                         87
    1   restatement that I think both of our letters cited,    1   that the other state, not Kentucky, had the most
    2   and that they come to a conclusion.                    2   significant contacts, and that essentially public
    3   Q          Right. But that's -- the Kentucky test      3   policy wasn't taken into consideration at that
    4   is the one you use because we got a federal court      4   point --
    5   sitting in Kentucky?                                   5   Q          Okay.
    6   A          Right. Right. So then you have the --       6   A          -- in -- in -- in those cases.
    7   right. So --                                           7   Q          Okay. So you've got about -- got about
    8   Q          That's the Erie -- that's the Erie          8   half a page here, well, maybe a whole page, of
    9   doctrine; right?                                       9   discussion of these two cases. One's called
   10   A          Right.                                     10   LaCrosse, and the other one is called --
   11   Q          Erie; right?                               11   A          Thaxton.
   12   A          Uh-huh. (Affirmative)                      12   Q          -- Thaxton, uh-huh. (Affirmative)
   13   Q          Remember that from law school?             13   A          Uh-huh. (Affirmative)
   14   A          I do remember that from law school.        14   Q          And LaCrosse dealt with Illinois law,
   15   Q          Okay.                                      15   Illinois, and Thaxton involved Ohio; right? Am I
   16   A          Thank you for the reminder.                16   remembering these correctly?
   17   Q          Uh-huh. (Affirmative) So you're            17   A          Yes.
   18   applying a test. And the Kentucky test is two-        18   Q          Okay. And so the question was, was it
   19   part; right? The first part is the most               19   Kentucky or Illinois or Kentucky or Ohio?
   20   significant relationship?                             20   A          Yes.
   21   A          Right. Exactly what I just stated.         21   Q          And you addressed -- you addressed --
   22   Q          Right.                                     22   you cited these two cases for the proposition that
   23   A          Yep. Uh-huh. (Affirmative)                 23   Kentucky courts will -- will -- will find that the
   24   Q          So -- and the second part is the public    24   other state's law applies, in one case Illinois and
   25   policy exception; is that fair?                       25   one case Ohio.

                                                        86                                                         88
    1   A           Yes.                                       1   A          Correct.
    2   Q           Okay. So you start off on the most         2   Q          Correct?
    3   significant relationship test, and you conclude        3   A          Correct.
    4   that Connecticut has the most significant              4   Q          But they don't have anything analogous
    5   relationship to the transaction in this particular     5   to the facts of our case, do they?
    6   case; correct?                                         6                 1\1R. KELLER: Objection to the form,
    7   A           Correct.                                   7            but go ahead.
    8   Q           Okay. So then we go to -- the next         8   Q          Tell me the facts of La Crosse.
    9   question is whether the public policy prohibits the    9   A          I think I just stated it right -- I
   10   public -- the policy provision at issue. So this      10   mean, essentially right there. It was a named
   11   second part is not part of the Connecticut analysis   11   insured that resided in Illinois, and they were
   12   of conflicts of law; correct?                         12   driving --
   13   A           Correct.                                  13   Q          Okay. Stop right there. Stop right
   14   Q           This is a thing that's kind of unique     14   there.
   15   to Kentucky. Well, there may be other states, but     15   A          Uh-huh. (Affirmative)
   16   -- but it's a -- this is a Kentucky overlay; right?   16   Q          So the -- the plaintiff, the victim in
   17   A           Correct.                                  17   that case, lived in Illinois; right?
   18   Q           You got to pass both tests; right?        18   A          The named insured, yes, was --
   19   A           Uh-huh. (Affirmative) Yes.                19   Q          The injured party. The guy that was
   20   Q           Okay. And so how do you address the       20   hurt, he -- yeah, and -- and also the named insured
   21   public policy provision part of the test in your      21   because --
   22   letter?                                               22   A          Correct.
   23   A           Essentially I reviewed the cases that     23   Q          -- he had underinsured.
   24   are cited in the letter, I found that the cases,      24   A          Correct.
   25   based on the facts that they were provided, saw       25   Q          He lived in Illinois. Well, in our


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                                        Enante Darout           10/18/2021
                                                                                        23    (Pages 89 to 92)
                                                         89                                                             91

    1 case she lived in Kentucky. That's the whole point        1 And I think that our facts differ in that in that
    2 of the public policy exception, isn't it?                 2 -- well, in that case there. I think the -- the
    3 A         Well, in our case the named insured was         3 analysis that we have to do is -- is -- is one that
    4 a resident of -- of Connecticut, if I remember that       4 is fact-specific. It varies in that, you know,
    5 correctly. Based on the policy language that we           5 there are different facts in different cases. And
    6 have, Dawson and I think Paula Newberry, the named        6 in that one Lacrosse, yes, is the -- is the named
    7 insureds, were residents of Connecticut.                  7 insured from what I understand. He's the one
    8 Q          So I've got La Crosse up. You recognize         8 seeking UIM benefits, and he's the one that resided
    9   that as Lacrosse?                                        9 in a different state. He's the one that resided in
   10   A          I do.                                       10 -- in Illinois ifl -- ifl remember correctly, as
   11   Q          And they start out with the factual and     11 opposed to in our case Dawson and Paula, who are
   12   procedural background. It says Mr. Lacrosse was        12 the named insureds, resided in Connecticut. So
   13   involved in a motor vehicle accident that took         13 that is part and parcel as to why I thought those
   14   place in Murray, Kentucky. LaCrosse was an             14 were -- were analogous. Both named insureds were
   15   Illinois resident. See that?                           15 not residents of Kentucky.
   16   A          Yes.                                        16 Q           Well, the named insureds, that --
   17   Q          And up there it says, well, he --           1 7 that's part of the significant relationship
   18   crushed spine, $500,000 in damages, big -- now that    18 analysis. That's part of the first part.
   19   part is kind of like Laura Woods; right? But he        19 A           Uh-huh. (Affirmative)
   20   was an Illinois resident. Again, on page three of      20 Q           The named insured is not part of the
   21   the opinion, and this is Exhibit 33, the Court         21 second part. In fact, the Court -- I've got -- can
   22   makes a point of saying again here La Crosse resides   2 2 you see this that I've got up here, the yellow, all
   23   in Illinois.                                           2 3 that remains?
   24                (Said document is filed with this         24 A           Yes.
   25             deposition and marked as Plaintifrs          25 Q           The Court seems to be focusing on the

                                                         90                                                             92
    1            Exhibit No. 33 for purposes of                  1 victim, who the plaintiff is. And the plaintiff
    2            identification.)                                2 was a nonresident -- was a resident of Illinois.
     3 A          Correct.                                       3 And for that reason the UIM setoff involved would
     4 Q          Yeah. And then -- and then there's a           4 not be harmful to the people of Kentucky because
     5 discussion here where the Court towards the end           5 this guy lived in Illinois.
     6 says, all that remains is a nonresident victim and        6          So I don't see the factual analogy
     7 an accident that occurred in Kentucky.                    7 because if-- if you use the Court's reasoning
     8 Accordingly, no reason exists to interfere with the       8 here, Laura Woods is a resident of Kentucky, so it
     9 law as set forth in Illinois for its citizens --          9 is harmful to her to have Connecticut law apply
   1 O apparently they had a similar law of Connecticut of     10 because she gets less money. So I -- I'm still --
   11 setoff UIM -- when the UIM setoff involved would         11 I still don't see what -- why you cited this as
   12 not be harmful to the people of Kentucky. Thus the       12 support that the public policy exclusion would not
   13 trial court correctly used offsets to reduce UIM         13 be applicable to Laura Woods.
   14 liability.                                               14 A           I think I -- I explained it. My
   15            So they found that because the victim         15 reasoning and rationale were because the named
   16 was not a resident of Kentucky that the offsets          16 insureds were not residents of Kentucky; they were
   1 7 applied and the guy got less money. How -- how is       1 7 residents of -- of Connecticut. The policy stated
   18 this case like the Woods case?                           18 the -- I mean, the policy stated that the vehicle,
   19 A           Well, like I said, the named insureds,       19 the Tacoma, was -- was in -- in Connecticut, and I
   2 0 Dawson and Newberry, were residents of Kentucky.        2 0 believe that it was their belief, that it was
   21 Q           No, no. They were residents of               21 Standard Fire's belief, that the -- that the car,
   2 2 Connecticut.                                            2 2 the car at issue, was housed, garaged, at the time
   23 A           I'm sorry; of Connecticut. I -- I            2 3 of contracting, at the time of execution of the
   2 4 misstated. Yes. Dawson Newberry and Paula I             2 4 policy. And so I think that while you're focusing
   2 5 believe her name is are residents of Connecticut.       2 5 on Laura Woods being the -- the victim, I, again,


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                                        Enante Darout           10/18/2021
                                                                                       24    (Pages 93 to 96)
                                                         93                                                          95
    1   was focusing on the fact that, you know, this is a      1   concluded that Ohio law should apply --
    2   fact-specific analysis, and our facts say that          2   A           Correct.
    3   Laura Woods was not an insured on the policy.           3   Q          -- in this particular case?
    4   Q          Yeah, except --                              4   A           Correct.
    5   A          Well, not a named insured on the             5   Q          And   the Court of Appeals is reciting
    6   policy. Forgive my --                                   6   some things that -- and then they say again, the
    7   Q          Right. There's no question about that.       7   Thaxtons claim to have moved to -- to Kentucky. And
    8   A          Uh-huh. (Affirmative)                        8   then on the next page they note that the Thaxtons
    9   Q          But as far as the victim, the injured        9   initially filed their complaint alleging that they
   10   party, that seems to be what the Lacrosse court is     10   were residents of Ohio. Again, where they were
   11   focused on.                                            11   residents appears to be the issue in the case, and
   12             Well, let's look at Thaxton. This is         12   the Court doesn't seem to be buying that because all
   13   Exhibit 34. This is the other case that you cite --    13   their contacts and all their -- their cars are
   14   A          Uh-huh. (Affirmative)                       14   registered in Ohio and their licenses are Ohio. And
   15   Q          -- as support for your conclusion that      15   apparently they realized that Kentucky law was more
   16   the public policy exclusion would not apply in this    16   favorable to their claim, this offset, so they were
   17   case. And you say that the Thaxtons were residents     17   trying to kind of modify -- after they filed their
   18   of Ohio. Is that your reading of this?                 18   complaint they tried to modify it and -- and
   19                (Said document is filed with this         19   establish Kentucky residence, but the Court doesn't
   20             deposition and marked as Plaintiff's         20   seem to be buying it. Thaxtons' alleged Kentucky
   21             Exhibit No. 34 for purposes of               21   residency. Do you see that?
   22             identification.)                             22   A           Yes.
   23   A          Yes.                                        23   Q           And then -- and then it says at the very
   24   Q          Okay. Well, is this what I'm pulling up     24   end, Ohio law should control absent some compelling
   25   here, is this the Thaxton case that you're talking     25   reason to the contrary. No such reason's been


                                                         94                                                          96
    1   about?                                                  1   presented. Apart from Thaxton providing Allstate
    2   A          Yes. That they had -- that they had --       2   with a Kentucky P.O. box mailing address, all
    3   they had contacts in Ohio. I think -- I think there     3   actions relating to negotiating, contracting, and
    4   was -- and I may be blending my cases, so forgive me    4   performing the insurance transaction occurred in and
    5   for that. I think this is one where they -- they        5   concerned Ohio.
    6   attempted to change their residency to Connecticut.     6            So in Thaxton the Court concluded that
    7   So forgive me, again, if I'm misstating or if I'm       7   they were residents of Ohio, not Kentucky, and so
    8   confusing my cases, so --                               8   they couldn't take advantage of the public policy
    9   Q          I don't think Connecticut was involved.      9   exception, again, because they're not residents of
   10   A          I'm sorry. I continue to say                10   Kentucky. How does this case help your position?
   11   Connecticut and I don't mean to say Connecticut.       11   A         Because, again, the named insureds were
   12   Q          That's okay.                                12   not residents of Kentucky. And similar to what
   13   A          I mean to say Kentucky; I apologize.        13   we've -- what you've just highlighted, the -- the
   14   Q          That's okay. So this is an unpublished      14   negotiating, the contracting, the performing of the
   15   opinion of the Court of Appeals, which is -- do you    15   insurance transaction, all occurred in Connecticut.
   16   know if the Court of Appeals in Kentucky is the        16   Q          But all that stuff has to do with the
   17   highest court or the intermediate court?               17   first part of this -- of the test, not the second
   18   A          I -- I believe that they are the            18   part. Don't you agree?
   19   intermediate court, but I could be mistaken.           19   A          I think the second part of the test is
   20   Q          Okay. Well, you're right. So the Court      20   to determine whether the public policy exception
   21   says the Thaxtons claim to have moved to Ohio. You     21   applies. And in my opinion the -- the public policy
   22   see that?                                              22   exceptions did not apply because, again, this is
   23   A          Uh-huh. (Affirmative) Right.                23   fact-specific, Dawson and Paula were residents of
   24   Q          This is the Court of Appeals reviewing      24   Connecticut.
   25   the trial court's opinion, and the trial court         25   Q          Yeah, but what about the victim? The


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                                        Enante Darout           10/18/2021
                                                                                      25   (Pages 97 to 100)
                                                         97                                                          99
    1   public policy is designed to protect the victim.        1   A         Okay.
    2   A          Yeah. And I think that this is a unique      2   Q         In Thaxton the -- the injured party, the
    3   issue because, again, you know, this -- this -- at      3   Court did not buy that they lived in Kentucky;
    4   our issue we have a non -- a person who is not a        4   correct?
    5   named insured on the policy that is driving the         5                MR. KELLER: I'll object to the
    6   vehicle that apparently -- that got into the car        6            form, but go ahead.
    7   accident. Forgive me; I didn't mean to say              7   A         No --
    8   apparently, but that got into -- was a victim of the    8   Q         In Thaxton --
    9   car accident, and nowhere on the policy is she noted    9   A         Uh-huh. (Affirmative)
   10   as a named insured. Nowhere on the policy did they     10   Q         -- the Court found that the plaintiffs
   11   say that the car would be housed in -- in Kentucky.    11   were residents of Ohio, not Kentucky, and therefore
   12   And so, again, these -- these two cases are both in    12   the public policy exclusion did not protect them; is
   13   my opinion listed there or shown there to show that    13   that --
   14   there are various factors that are taken into          14                MR.KELLER: Same objection, but go
   15   consideration when determining whether -- whether,     15            ahead.
   16   one, they're the most significant test -- that the     16   Q          -- is that true?
   17   most significant relationship test should apply, and   17   A         I will say that the plaintiff, who
   18   two, whether public policy is an issue that should     18   happened to be the named insureds and the victims of
   19   even be discussed.                                     19   the incident, were found to be residents of Ohio --
   20   Q          Okay. Well, I'm back to your letter,        20   Q          Ohio. Okay. So --
   21   and obviously you think the public policy exclusion    21   A         -- in Thaxton.
   22   should be discussed because you say so in your         22   Q          Okay. In fact, you even say -- you even
   23   letter, the next question is, and you cite the two     23   -- you even quote that in your letter, oddly enough.
   24   cases, LaCrosse and Thaxton, and you would agree       24   Can you read this?
   25   with me, would you not, that in both of those cases    25   A         Uh-huh. (Affirmative) Apart from

                                                         98                                                         100
    1   the victim was a non-Kentucky resident; correct?        1   Thaxton providing Allstate with a Kentucky post
    2   A          It's not whether they should be              2   office box mailing box [sic], all actions related to
    3   discussed; it's whether they should be applied. And     3   negotiating, contracting, and performing the
    4   yes, Laura Woods is a Kentucky resident.                4   insurance transaction occurred in and concerned
    5   Q          No, no, no, no, no. That's not what I        5   Ohio.
    6   said. Listen to my question.                            6   Q          Okay. And then you have a conclusion.
    7   A          Uh-huh. (Affirmative)                        7   A         Right.
    8   Q          In Lacrosse the injured party resided in     8   Q         Where's the -- where's the analysis?
    9   Illinois; correct?                                      9   A         Analysis?
   10   A          Yes. The named party, who is also the       10   Q          Of why the public policy exception
   11   injured party --                                       11   doesn't apply. You --you talk about the two cases.
   12   Q          Okay. That's it. That's it. That's          12   A         Uh-huh. (Affirmative) Yes.
   13   it.                                                    13   Q          You quote from the second one. Where's
   14   A          -- is located in Illinois.                  14   the -- how do you get to it's my opinion the public
   15   Q          Injured party was in Illinois. In           15   policy exclusion would not apply? How do you get
   16   Thaxton the injured party tried to say they lived in   16   there?
   17   Kentucky, but the Court didn't buy it and said they    17   A          I think we just talked about how I got
   18   lived in Ohio; correct?                                18   there.
   19   A          The named insured, who is also the          19   Q          Well, tell me again because I'm not
   20   injured party, yes.                                    20   clear. There's nothing--you don't write anything
   21   Q          No, no, no, no. I'm not asking about        21   in here after that to get to your conclusion. How
   22   the named insured.                                     22   do you get to your conclusion?
   23   A          But that-- but that's part and parcel       23   A          Okay. And so I don't believe the public
   24   ofmy -- ofmy --                                        24   policy applies in this case here because we don't
   25   Q          Listen to my question, Ms. Darout.          25   get there. I think the most significant -- the most


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                                        Enante Darout           10/18/2021
                                                                                    26 (Pages 101 to 104)
                                                        101                                                        103
    1   significant relationship test discusses the factors     1   your understanding?
    2   that we discussed; right?                               2                1\IJR. KELLER: Objection, but go
    3   Q          Yeah.                                        3             ahead.
    4   A          The contract, the negotiation, the           4   A          I mean, I don't know how many times
    5   drafting --                                             5   we're going to try to slice this, but -- but --
    6   Q          That part--                                  6   Q          I'm just trying to understand how you
    7   A          -- the execution.                            7   got to the conclusion in your letter --
    8   Q          That part, yes.                              8   A          Uh-huh. (Affirmative)
    9   A          Correct. Right? And the named insureds       9   Q          -- that the public policy exclusion
   10   aren't Connecticut residents, and so the named         10   would not apply --
   11   insureds in my opinion wouldn't receive -- at least    11   A          Okay.
   12   in this case, they would -- Laura would not receive    12   Q          -- when the two cases that you cite --
   13   the benefit of the public policy because, again, the   13   A          Uh-huh. (Affirmative)
   14   named insureds, who the policy was drafted for, were   14   Q          -- have non-Kentucky residents involved.
   15   not Connecticut residents. The car, the trans --       15   So that doesn't help -- that doesn't -- the whole
   16   the car in and of itself was not one that was          16   issue is that the injured party, the plaintiff, is a
   17   supposed to -- was not one that was stated to be in    17   resident of Kentucky, and Kentucky's laws are
   18   Kentucky. Again, the -- the contract itself, all       18   designed to protect Kentucky citizens.
   19   transactions or all actions related to the             19   A          Correct. So in both cases the named
   20   transaction occurred in Connecticut. And so in my      20   insureds were also the ones seeking the benefit of
   21   opinion, you know, Laura Woods, unfortunately,         21   the UIM coverage; correct?
   22   wouldn't receive the benefit of -- of getting the      22   Q          That's right.
   23   public policy exception.                               23   A          Okay. And so in both cases because it
   24   Q          Okay. So I think you're saying it's         24   was the named --
   25   really just one test, the significant relationship,    25   Q          But not in Laura Woods.

                                                        102                                                         104
    1   and the public policy is kind of the same analysis      1   A          Right. But again, this is a fact-
    2   with a big focus on the named insured?                  2   specific factor-weighted analysis; right --
    3   A           What I'm saying is that the public          3   Q          Well, that's why I'm saying--
    4   policy exception would not apply here because Dawson    4   A          -- when you get into that.
    5   and Paula are both Kentucky -- I'm sorry -- are both    5   Q           -- these tests are factually
    6   Connecticut residents. The car --                       6   distinguishable from Laura Woods. Would you not
    7   Q           And they're the named insureds.             7   agree with that?
    8   A           And they're the named insureds. The car     8   A          No. I'm saying is that we have to take
    9   in question was supposed -- was -- when Standard        9   the facts into consideration in coming to an opinion
   10   Fire drafted the policy, I'm sure they believed that   10   or a conclusion; right? You got to take the -- it's
   11   the car was going to be a -- in a Kentucky -- I'm      11   a fact-find -- it's a fact --you got to weigh all
   12   sorry -- in Connecticut.                               12   of the facts essentially when you're coming to a
   13   Q           Garaged -- garaged in Connecticut.         13   conclusion. It's not necessarily a blanket
   14   A           Garaged. Well, I think I said that in      14   statement you can issue and think that they could
   15   the letter, garaged in Connecticut. I believe that     15   all fall within that purview. No, it's -- it's a
   16   all transactions relating to this policy occurred,     16   weighted test. You got to weight it.
   17   arose, happened in -- in Connecticut.                  17   Q           Right. But where -- where is the
   18   Q           Issued in Connecticut, premiums paid in    18   discussion about Laura Woods about-- I don't-- I
   19   Connecticut; right?                                    19   don't see any discussion about named insureds and
   20   A           All of that; correct.                      20   garaged and paying pre --
   21   Q           Okay. All that.                            21   A          Again --
   22   A           So that is --                              22   Q           I'm just trying to get from point A to
   23   Q           So and that is -- that is also your        23   point B --
   24   analysis on the public policy exception? In other      24   A           Sure.
   25   words, it's really just one test; is that -- is that   25   Q           -- and I'm not following it.


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                                                       105                                                         107
    1   A           Again, so as I draft -- well, when I've     1 A         Yes. You're no longer sharing.
    2   concluded the drafting of my opinion I have a phone     2 Q         Okay; let me try that again. Sorry. Am
    3   call. It's either before -- right before the            3 I back?
    4   opinion is submitted or, again, right after the         4 A         Yes.
    5   opinion is sent over to -- to -- to I guess in this     5 Q         I'm trying to pull up a slide that says,
    6   case Matt. And so I'm almost positive that a            6 28 days. You see that?
    7   conversation would have happened, and that would've     7 A         Yes.
    8   been included, which may have been the reason why it    8 Q         Exhibit 29, that's just a little slide.
    9   was omitted from -- from this letter here.              9 So Matt Parsons e-mails to Chris -- e-mail to Chris
   10   Q           Okay. What was that conversation? Tell     10 Pencak was October 31. I think you said it may have
   11   me what that was.                                      11 been a few days before you -- it came -- it got to
   12   A           Can I say what it was word for word?       12 you, and your letter's dated November 28th. So
   13   No. But essentially I --                               13 that's 28 days. Do you remember -- so question is,
   14   Q           I'm not asking you to do that.             14 how long did you spend on this project?
   15   A           -- I would go through it --                15             (Said document is filed with this
   16   Q           Go ahead.                                  16          deposition and marked as Plaintifrs
   17   A           -- I would go through -- I would go        17          Exhibit No. 29 for purposes of
   18   through the case, I would go through my -- my          18          identification.)
   19   findings, the analysis there, I'd review some of the   19 A         Like I said, maybe a couple of -- I'm
   20   cases that I talk about, and then I would talk with    20 going to say maybe two -- two weeks.
   21   him as to how I got to the conclusion, why I got       21 Q         Okay. Did you ever consider rejecting
   22   there, which is probably why it's -- it's not in the   22 the assignment? Did you ever consider maybe talking
   23   letter right there.                                    23 with M:s. Allen and said, you know, I don't really
   24   Q           So you think your analysis was             24 have much experience with Kentucky, particularly
   25   transmitted to him by telephone, and so you didn't     25 UIM; maybe you should find somebody who has either


                                                        106                                                        108
    1   bother to type it up here?                              1   experience or is licensed in Kentucky?
    2   A         Again, that's my only conclusion because      2   A           No, I didn't have that conversation.
    3   I would have normally stated all of that, I would've    3   Q           Did you on a regular basis write opinion
    4   gone through it, you know, with him.                    4   letters that dealt with other state laws?
    5   Q         Because you would agree there's               5   A           Yes.
    6   something missing here; right?                          6   Q           Okay. So that was not out of your
    7   A         I don't agree that there's something          7   routine?
    8   missing.                                                8   A           No.
    9   Q         You don't.                                    9   Q           Okay. And again, you don't have any
   10   A         I mean, in your view there could've          10   time records of your time spent working on this
   11   been, right.                                           11   assignment?
   12   Q         Okay.                                        12   A           No.
   13   A         In your view there could've been.            13   Q           Did you transmit a draft to Ms. Allen or
   14   Q         Okay. Fair enough.                           14   Mr. Parsons for their kind of review before you put
   15   A         But in -- I mean, in my opinion I think,     15   it in final form?
   16   you know, I've -- I related that -- that information   16   A           Not -- I wouldn't have sent it to Matt.
   17   to him.                                                17   I don't send it to the professional -- claim
   18   Q         Some projects I get I can finish in 30       18   professional before it's final. But I would have
   19   minutes. Some projects I get I work on for weeks.      19   sent it to the assigning attorney to -- to review.
   20   Do you know how long you spent working on this         20   Q           Okay. So one of the key things you
   21   letter?                                                21   reviewed was the policy itself?
   22   A         Probably a couple of weeks. Two -- two       22   A           Correct.
   23   weeks maybe, perhaps.                                  23   Q           Let's go to that, Exhibit 30. This is
   24   Q         So -- okay; two weeks. Let's see. Have       24   not the whole policy; it's excerpts. And I have
   25   you -- have you lost my screen?                        25   some things highlighted that are pertinent I think


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                                                                                    28   (Pages 109 to 112)
                                                       109                                                         111
    1   to our discussion. So is this Exhibit 30 the -- the     1   endorsements of this policy; right?
    2   policy that applied to this particular claim?           2   A          Right.
    3                (Said document is filed with this          3   Q          And then there's an agreement. And it
    4             deposition and marked as Plaintifr s          4   says, in return for payment of premium and subject
    5             Exhibit No. 30 for purposes of                5   to all the terms of this policy, we will provide the
    6             identification.)                              6   coverages you have selected. These are shown by
    7   A          Yes. I see the named insured; I see the      7   premium entries in the declarations. The
    8   effective dates, yes.                                   8   declarations is a part of this policy.
    9   Q          Accident I think was in December of '16,     9             Now is the declarations the first part
   10   so this would've been within the period; correct?      10   -- the first couple pages that are unique to the --
   11   A          Correct. I'm sorry; I didn't know that      11   to the Newberrys?
   12   was a question.                                        12   A          Yes. I mean, it's written for them,
   13   Q          Okay. There's a '98 Toyota Tacoma.          13   yes.
   14   That's Ms. Woods' --that's the Newberrys' truck?       14   Q          Okay. So this is the -- this is the
   15   A          Yes.                                        15   customized first couple of pages, two, three, four,
   16   Q           Okay. And it's got coverages, limits of    16   three pages, is for their particular situation, and
   17   liability, and payment section. And it provides        17   then the rest is kind of the form part; is that
   18   medical payments, what -- what I've been calling med   18   fair?
   19   pay, is $1,000 per person; correct?                    19   A          Yes.
   20   A          Yes.                                        20   Q          Okay. Then there's a section in the
   21   Q          And coverage D1, which is in this case      21   general provisions about duties after a loss, and
   22   underinsured motorist coverage, of 100?                22   there's a section on GP-3 which talks about
   23   A          Yes.                                        23   additional duties for reparation benefits coverage.
   24   Q           Okay. And Travelers has a family of --     24   And it says, a person seeking reparation benefit
   25   of companies and subsidiaries, for want of a better    25   coverage must, and it's got A, B, C there. Is that

                                                        110                                                        112
    1   word, that actually are the issuer of the policy,       1 -- is that referring to PIP, O-P-1-P? In other
    2   and I think in this case it's Standard Fire             2 words, if you're getting basic reparation benefits,
    3   Insurance Company. Do you see -- do you see that?       3 which is another word for PIP, in your particular
    4   A          Yes.                                         4 locale, you've got to show us medical records, show
    5   Q           Okay. That's why Standard Fire is the       5 about your inability to work, you've got to provide
    6   -- is the defendant in this case; correct?              6 proof, before we have to pay the $11,000, or 10 in
    7   A           Correct.                                    7 this case?
    8   Q           Okay. Okay. And then we're on GP --         8 A           I believe so.
    9   let's see -- page GP-1. This is the general             9 Q           I think that's what that is.
   10   provisions. These thing -- these provisions apply      10 A           Yeah. I'm sorry; I have to kind of go
   11   to all the different coverages; correct?               11 in to see it.
   12   A           Correct.                                   12 Q           Says ifwe pay you PIP, you've got to
   13   Q           Okay. And it is -- it's a Connecticut      13 first show us that you actually incurred expense?
   14   policy, and that means that people that live in        14 A           Yes.
   15   Connecticut, if they buy a policy, this is the         15 Q           Medical records, billing records, et
   16   policy that's marketed there; correct?                 16 cetera.
   17   A           Correct.                                   17 A           Sorry. Yeah. I had to get closer to
   18   Q           And states have different insurance        18 the screen. It was kind of small.
   19   laws, so -- so a lot of insurance policies will be     19 Q           Okay. Does that help?
   20   tailored to particular states; is that -- is that      20 A           Very much so. Thank you.
   21   right?                                                 21 Q           Okay. And then we go there's a general
   22   A           Right.                                     22 conditions, and when we go to the next page we've
   23   Q           Okay. And it says, general provisions      23 got a section called, our right to recover payment.
   24   section, unless otherwise stated, the provisions in    24 Ifwe make a payment under this policy and the
   25   this section apply to all coverage sections and        25 person to or for whom payment was made has a right


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     1 to recover damages from another, we are subrogated        1 similar law specifying limits of liability for
     2 to that right. That person must do, one, whatever         2 bodily injury or property damage higher than the
     3 is necessary to enable us to exercise our rights;         3 limit shown in the declarations, this policy will
     4 two, nothing after loss to prejudice them. And then       4 provide the higher specified limits. Two, a
     5 it's got, however, our rights in this paragraph A,        5 compulsory insurance or similar law requiring a
     6 two, do not apply under un- and underinsured              6 nonresident to maintain insurance whenever the
     7 motorist coverage. Right?                                 7 nonresident uses the vehicle in that state or
     8 A          Correct.                                       8 province, this policy will provide at least the
     9 Q          So they don't have a right of                  9 required minimum amounts and types of coverage.
   1 O subrogation for UIM; correct, under this policy?        10           Now I think that kind of goes to why
   11 A           Correct.                                     11 Travelers paid the PIP in Kentucky, because Kentucky
   12 Q           Policy period and territory: This            12 requires -- Travelers does business in Kentucky, and
   13 policy applies only to accidents and losses which        13 Kentucky requires all drivers to have a minimum of
   14 occur during the policy period shown in the              14 10,000 of PIP. Does that kind of go into that
   15 declarations and within the policy territory. The        15 concept or not, or do you know?
   16 policy territory is the United States of America,        16 A           I'm just reading it again.
   1 7 its territories or possessions, Puerto Rico, and        17 Q           Can you see it?
   18 Canada. I guess you could take the car to Puerto         18 A           Actually if you could make it a bit
   19 Rico and drive it around? Is that what that says?        1 9 bigger that'd be helpful. Thank you.
   2O A           Yes, it's what it says.                      2O           I think the reason for the PIP being
   21 Q           So if the -- if the Toyota Tacoma is         21 provide -- provided kind of speaks I think more
   2 2 taken out of state and an accident occurs, it's         2 2 mainly in the -- in the UIM coverage. This -- while
   23 covered?                                                 2 3 I understand or see your point, this is still housed
   24 A           Potentially.                                 2 4 under that liability section.
   25 Q           Okay. Depending on other terms?              25 Q           First of all, Connecticut doesn't have

                                                       114                                                         116
    1   A          Precisely.                                    1 PIP; right? So --
    2   Q          Okay. But that's what that's getting          2 A          No, it does not have PIP. You're
    3   at; the policy territory is you can take your car        3 correct.
    4   anywhere in the country, and Travelers got you           4 Q          So this policy doesn't have -- it
    5   covered?                                                 5 doesn't provide PIP expressly within that?
    6   A          Potentially, yeah.                            6 A          Not expressly, no, but I think that the
    7   Q          Okay. Okay. Okay. The next coverage           7 wording of the UIM provisions, you could kind of
    8   section is liability. Liability coverage section,        8 read that in, or at least my interpreting was that
    9   A, bodily injury; B, property damage. I don't think      9 it included that there.
   10   this applies in this case of Laura Woods because I     10 Q           Okay.
   11   think this applies when -- when a third party is       11 A           So --
   12   injured by an insured and the third party is making    12 Q           Okay. Okay. I gotcha. Let's move on.
   13   a claim against the insured. Is that right?            13           Next section is coverage C, medical
   14   A          Yes, you're correct.                        14 payments. So this is the med pay.
   15   Q          Okay. So I'm going to skip this             15 A           Right.
   16   coverage A and B liability. So it's a few pages,       16 Q           Correct?
   17   three pages. Except I want to -- I want to focus on    17 A           Correct.
   18   this even though it's not a part of our loss. There    18 Q           Okay. Now let's see what it does.
   19   is a section in here under liability that says, out-   19 Insuring agreement: We will pay the usual and
   20   of-state coverage. If an auto accident to this --      2 0 customary charge for reasonable expenses incurred
   21   to which this policy applies occurs in any state or    21 for necessary medical and funeral services if
   22   province other than the one in which your covered      2 2 somebody passes away because of bodily injury, one,
   23   auto is principally garaged, we will interpret your    2 3 caused by an accident, and two, sustained by an
   24   policy for that accident as follows: If the state      2 4 insured. And then it's got, insured as used in this
   25   or province has a financial responsibility or          2 5 coverage section means, two, any other person while


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                                                       117                                                         119
    1   occupying your covered auto.                            1   for underinsured until she had exhausted the limits
    2              So because Ms. Woods was occupying the       2   of Mr. Eaves' policy?
    3   auto and incurred medical expense, she was eligible,    3   A         Correct.
    4   not a named insured but as a -- as an insured, to       4   Q         His liability policy?
    5   receive the -- the med pay 1,000; is that --            5   A         Right. The 50,000; correct.
    6   A           Right.                                      6   Q         Has -- has to be exhausted before one
    7   Q           -- correct?                                 7   nickel of underinsured is -- is -- is -- before
    8   A           Correct.                                    8   Laura was eligible for $1 of underinsured?
    9   Q           Okay. And there's nothing in here --        9   A         Correct.
   10   are you aware of anything in here that conditions      10   Q         If she had settled his claim for 49,000
   11   payment on not being at fault for the accident?        11   or $49,999, her underinsured -- your -- Travelers'
   12   A           I am not aware of anything in there that   12   underinsured obligation to pay would be zero; right?
   13   -- in this -- in this coverage C about fault.          13   A         It would have kicked -- it would have
   14   Q           I don't think there is.                    14   been triggered; right.
   15   A           Right.                                     15   Q         Right. Okay. Insured as this coverage
   16   Q           So for example, if Ms. Woods had crossed   16   section means, two, this is B and then two, any
   17   the centerline and hit Mr. Eaves head on, in other     17   other person occupying your covered auto.
   18   words, if she had been the fault of the -- if she      18            So that applies to Laura Woods; right,
   19   had been at fault, if she was responsible for the      19   because she was occupying the Toyota Tacoma?
   20   collision, she still would've been eligible -- and     20   A         Correct.
   21   hurt, she still would've been eligible for this        21   Q         Okay. Okay. And then let's look at
   22   payment? Doesn't matter whether she was at fault or    22   what -- then they defme what a underinsured motor
   23   someone else was at fault; correct?                    23   vehicle means. It's a land motor -- land motor
   24   A           Correct.                                   24   vehicle or trailer of any type for which the sum of
   25   Q           Okay. And it's a thousand dollars under    25   the limits of liability under all bodily injury

                                                       118                                                          120
    1   this policy; right?                                     1   liability bonds or policies applicable at the time
    2   A          Yes, it is.                                  2   of the accident is less than the limit of liability
    3   Q          Okay. So then we get to coverage Dl,         3   for this coverage under the policy.
    4   which is un- and underinsured motorist bodily injury    4             That's kind of like what we were talking
    5   coverage, which is what we're talking about in this     5   about before. UIM has to be more than the
    6   case; right?                                            6   underlying -- the limit of liability. And the
    7   A          Yes.                                         7   underinsured motor vehicle is Mr. Eaves' vehicle;
    8   Q          Okay. The insuring agreement says, we        8   right?
    9   will pay compensatory damages which an insured is       9   A          Right.
   10   legally entitled to recover from the owner or          10   Q          By definition, it doesn't have enough
   11   operator of an uninsured or underinsured motor         11   insurance it's underinsured; right?
   12   vehicle because of bodily injury, one, sustained by    12             Okay. And then there's some exclusions;
   13   an insured, and two, caused by an accident. The        13   correct?
   14   owner or operator's liability for these damages must   14   A          Yes.
   15   arise out of the ownership, maintenance, or use of     15   Q          And go down to Exhibit [sic] E. I'm on
   16   the underinsured motor vehicle.                        16   page UIM-2. Let me see if I can blow this up.
   17             So that all-- that all jibes with            17   Says, we will not pay -- E says, we will not pay
   18   Laura's situation; correct?                            18   compensatory damages to the extent that the amounts
   19   A          Correct.                                    19   are or were available to an insured under any bodily
   20   Q          Okay. And then it -- it says, we will       20   injury liability bonds or policies applicable to the
   21   pay under this coverage only after the limits of       21   underinsured motor vehicle.
   22   liability under any applicable bodily injury or        22             So underlying liability is paid first,
   23   liability bonds or policies have been exhausted by     23   and only if your damages exceed that is this
   24   payments of judgments or settlements.                  24   triggered; correct?
   25             So in other words, Laura wasn't eligible     25   A          Correct.


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    1   Q         So that's kind of another way of saying       1   A           I think also too if you read that as --
    2   it. And then it's got a limits ofliability              2   I think it's -- I think it's -- I think it's the
    3   section. And limit C says, the limit of liability       3   Connecticut statute 38a. I can't recall the exact
    4   will be reduced by all sums, one, paid to the           4   number, but there is a section in there that talks
    5   insureds because of the bodily injury by or on          5   about direct indemnity payment, so while, again,
    6   behalf of persons or organizations who may be           6   it's not expressly stated, I think -- I think
    7   legally responsible.                                    7   there's room or it could be argued that -- that it
    8            So again this says Travelers gets a            8   could be included.
    9   credit for the amount paid by or on behalf of           9   Q           Okay. But, I mean, Travelers paid the
   10   persons responsible, such as Eaves in this case;       10   hundred, so they conceded that it didn't apply in
   11   correct?                                               11   Laura Woods' case; correct?
   12   A         Correct.                                     12                  MR. KELLER: Object to the form, but
   13   Q         And then limit letter E says, we will        13              go ahead.
   14   not make a duplicate payment under this coverage for   14   A           I'm sorry; they -- they paid the hundred
   15   any element of loss for which payment has been made,   15   so what?
   16   again, by or on behalf of persons or organizations     16   Q           If they-- they paid the full hundred.
   17   who may be legally responsible.                        17   A           They did pay the full hundred.
   18            Kind of another way of saying the same        18   Q           So they conceded that in Laura's case
   19   similar thing; correct?                                19   this limitation didn't apply.
   20   A         Correct.                                     20   A           I wasn't involved in that determination.
   21   Q         So these two, C and E, they don't            21   Q           Well, if Traveler -- let's say it this
   22   provide -- med pay and PIP are not made by or paid     22   way: If Travelers paid Laura the full hundred
   23   on behalf of persons legally responsible; right?       23   without deducting, then this wasn't a limitation on
   24   A         I'm sorry; say that one more time.           24   her claim or payment.
   25   Q         Med pay and O-P-I-P, med pay and PIP,        25   A           Again, that --

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    1   are not excluded by these limitations; right? These     1                 MR.KELLER: Object to the form.
    2   don't provide a -- a credit for no-fault, do they?      2                 THE WITNESS: I'm -- I'm sorry.
    3   A           Cor -- cor -- correct. They -- those        3                 MR. KELLER: Go ahead.
    4   partic -- those particular sections, no, do not.        4   A          Again, I wasn't involved in that; right?
    5   Q           They're -- they're getting at -- at --      5   My -- my scope and my involvement was limited to
    6   at coverage that was afforded to Mr. Eaves --           6   issuing the -- the opinion.
    7   A           Right. Right.                               7   Q          I'm talking about a hypothetical. Let's
    8   Q           -- in our -- in our situation?              8   talk in hypothetical.
    9   A           Right. But -- but I do think that that      9   A          I can't do hypotheticals. I mean,
   10   section D should also kind of be taken into -- into    10   hypotheticals are -- are exactly that,
   11   consideration here, that no one will be entitled to    11   hypotheticals.
   12   receive duplicate payments for the same elements of    12   Q          Well, let me try. A person is injured
   13   loss under this policy or under this coverage. So I    13   in Kentucky, and Travelers pays the full hundred,
   14   think you got to also take that as well.               14   although they also receive $11,000 in no-fault
   15   Q           Okay.                                      15   benefits. Did this limitation apply?
   16   A           So while it's not directly or expressly    16                 MR. KELLER: Object to the form, but
   17   stated, I think --                                     17            go ahead.
   18   Q           In certain circumstances that might        18   A           I mean, again, it's -- it's a
   19   limit a payment?                                       19   hypothetical, like we talk about what took place,
   20   A           In certain circumstances.                  20   and again, I wasn't involved in the determination at
   21   Q           Yeah; okay. But not in Laura Woods'        21   that point.
   22   situation because her damages were so great there      22   Q          But you're a lawyer. We talk about
   23   was no duplication; correct?                           23   hypotheticals all the time, don't we?
   24                 MR. KELLER: Object to the form, but      24   A           Well, I mean, in this case I'm a
   25              go ahead.                                   25   deponent, and in this case we're talking about the


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    1   facts that occurred here in Laura Woods' case.            1   or O-P-I-P?
    2   Q        You're the deponent. That's why I'm              2   A           Expressly, no, but I think we had the
    3   asking you the question.                                  3   conversation that I think some of that could be --
    4   A        Right. But I'm telling you that I --             4   at least I interpret it to mean that -- that there
    5   that would be simply speculating on this                  5   are some sections that would allow for such a thing.
    6   hypothetical, and, I mean, the facts are what it          6   Q           Sort of an incorporated -- incorporation
    7   was. And again, I wasn't involved in that portion         7   by reference or location of the loss kind of
    8   of the determination.                                     8   concept?
    9   Q          Okay. Let me check my notes real quick.        9   A           Correct.
   10   Sorry.                                                   10                 1\1R. KELLER: Object to the form, but
   11            Let's go back to coverage section D1,           11             go ahead.
   12   which is un- and underinsured coverage. Is there         12   Q           As part of your -- what you looked at to
   13   anywhere in this coverage -- and you're familiar         13   -- in this particular case, your assignment, was one
   14   with Travelers policies, insurance policy forms;         14   of the materials that you looked at the uninsured
   15   right?                                                   15   motorist worksheet for this matter?
   16   A         Yes.                                           16   A           No.
   17   Q         You've read a bunch of them?                   17   Q           You didn't look at that?
   18   A         I have.                                        18   A           No.
   19   Q         Okay. Both as an adjustor and as               19   Q           Why not?
   20   associate counsel?                                       20   A           Because, again, the call or the question
   21   A         Correct.                                       21   at least for me was which state would govern, which
   22   Q         Is there anywhere in the UIM section or        22   -- and -- and there -- I didn't take that UIM
   23   in the general conditions section that requires an       23   worksheet into consideration because that wasn't the
   24   insured to provide a release before full benefits        24   -- in my opinion that wasn't the call or the
   25   are payable?                                             25   question I had to understand or figure out or opine

                                                           126                                                               128
    1                 MR. KELLER: Object to the form, but         1   as to which state would govern, and that didn't fall
    2             go ahead.                                       2   within the purview ofmy -- ofmy review.
    3   A          I -- I mean, I can't recall that off the       3   Q          I'm going to pull up Exhibit 39. Can
    4   top ofmy head. That's a very specific question. I         4   you see that?
    5   can't recall that off the top of my head.                 5                 (Said document is filed with this
    6   Q          Okay. Well, let's -- do you need a few         6             deposition and marked as Plaintifrs
    7   minutes to review this policy? Because I don't --         7            Exhibit No. 39 for purposes of
    8   A          If you want to -- if you want to point         8             identification.)
    9   me to a specific section.                                 9   A          Yes.
   10   Q          No. I said, is there anything in here         10   Q          This is the uninsured -- well, under --
   11 that requires an insured to provide a release before       11   under -- underinsured motorist worksheet.
   12   full benefits are paid? I don't--                        12   A          Underinsured or uninsured?
   13   A         I don't --                                     13   Q          Says un, doesn't it?
   14   Q         -- think there --                              14   A          Yes.
   15   A         I don't believe so.                            15   Q          I think it's used in the under context
   16   Q         I don't think there is.                        16   as well, isn't it?
   17   A         Well, that's -- I don't -- I don't             17   A          You tell me. I'm not sure.
   18   believe so. I mean, I can't recall off the top of        18   Q          Well, it says Laura Woods, doesn't it?
   19   my head if -- if this one had it or not, but I don't     19   A          I believe so.
   20   believe in general we have what's -- at least in         20   Q          And it says the claim number. That's
   21   this type of policy I don't believe.                     21   the claim number you're familiar with; right?
   22   Q         In a UIM -- in the UIM context?                22   A          It is.
   23   A         Right.                                         23   Q          And it's got Galanski on there. Dawson
   24   Q         Okay. Is there anywhere in the policy          24   Newberry is the named insured. Does this look like
   25   -- in this policy that permits offsets for med pay       25   a uninsured motorist worksheet that was done on this


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    1   case?                                                   1 there were claim notes that I would have needed to
    2   A         For this case it looks like it, yes.          2 review, I would've went to the notes portion itself,
    3   Q          Okay. Looks like the report date is          3 not to the BIW, or the bodily injury worksheet as we
    4   October 5th of '18; is that correct?                    4 -- as it's called, as it's sometimes referred to.
    5   A         Yes, that's what's listed.                    5 Q            Is there something different than this?
    6   Q          So if you had looked for this, was this      6 A           No. It's sometimes referred to as the
    7   something that you could've looked at and you had       7 BIW.
    8   access to if you felt like it was pertinent?            8 Q            Oh, okay.
    9   A         If it was in the claim file or the claim      9 A           Uh-huh. (Affirmative)
   10   cabinet, yes.                                          10 Q            Okay.
   11   Q         Well, Travelers produced it. It's            11 A           So I wouldn't have --
   12   Travelers 1396. So I assume it was in the cabinet.     12 A           There are other -- there are other
   13   A         Okay.                                        13 resource -- there are other things within the -- the
   14   Q         Is that where these things are kept?         14 claim file cabinet that are more helpful to you?
   15   A         I would assume so, yes, somewhere in the     15 A           More helpful than this?
   16   file.                                                  16 Q            Yes.
   17   Q         Okay. To me it just has a lot of             17 A           Yeah, sure, yeah.
   18   background information about the claim, and, you       18 Q            Okay.
   19   know, it's kind of interesting to kind of sum -- it    19 A           The claim -- the claim notes in
   20   pulls everything together in a -- in a nice summary.   20 particular.
   21   Would you agree, or do you know?                       21 Q            Okay. Gotcha. I'm going to pull up
   22   A         I don't know what the rest of this           22 again the coverage letter that we did in response to
   23   document looks like, so --                             23 Mr. Galanski's $39,000 offer, and this is -- was
   24   Q         Well--                                       24 something you reviewed and looked at when you were
   25   A         -- I'll have to take your word for it.       25 working on this assignment?

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    1   Yeah, I mean, it --                                     1   A         Yes.
    2   Q           It's got stuff on -- it's got the policy    2   Q         Okay. And it's 15 pages, and it kind of
    3   details, it's got vehicle details, financial            3   goes through -- we don't really talk about the
    4   incurred, I guess that's what Travelers has paid        4   policy, but -- language, but -- I mean, we don't--
    5   out, it's got accident information, liability           5   we don't recite the language in here. But it talks
    6   analysis --                                             6   about UIM benefits and the most significant
    7   A          Okay. Yep. Yep. I remember--                 7   relationship test, and it goes on for about two
    8   Q           -- injury information.                      8   pages on that, and then we get to the public policy
    9   A          -- seeing something similar when I was a     9   exception on page four.
   10   general liability adjustor.                            10   A         Yes.
   11   Q           Okay.                                      11   Q         You see all that?
   12   A          Okay. Yeah.                                 12   A         Uh-huh. (Affirmative) Yes.
   13   Q           And damages evaluation. A lot of           13   Q         There's a statutory analysis section and
   14   interesting stuff.                                     14   then several hypotheticals and then a case law
   15   A          Okay.                                       15   analysis that is four or five pages, and then it
   16   Q           But this is not something that you --      16   goes through the PIP med pay, so a lot of
   17   you looked at to kind of get up to snuff, get up to    17   information here, but not very much of it is
   18   speed, on what the claim was about?                    18   mentioned in your letter, and I was just wondering
   19   A          No.                                         19   if -- what your response to this pretty lengthy and
   20   Q           Okay. Did you ever consult these           20   detailed analysis was, if any. It looks to me like
   21   worksheets when doing coverage opinion letters?        21   you just disregarded it, but I'm sure that's not the
   22   A          No.                                         22   case. Can you tell me the story of how you -- how
   23   Q           How come?                                  23   you --you didn't distinguish any of the cases that
   24   A          Because it had nothing to do with my        24   -- that we cite. So I'm just kind of wondering what
   25   analysis. If there were issues in the claim or if      25   your thought process was.


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    1 A          Sure. I read through your letter, I           1   A          I remember reading that.
    2 reviewed the -- some of the authorities there, I --      2   Q          It changed it to --
    3 I essentially then wrote my -- my opinion.               3   A          Uh-huh. (Affirmative)
    4 Q          Did you read Philadelphia versus Morris?      4   Q          It changed it to the damages less limits
    5 A          I believe I did.                              5   instead of the paid less limits.
    6 Q          Do you know what that case is about?          6   A          Okay.
    7 A          I mean, there -- there's a lot of cases       7   Q          But there's no -- you know, we go on,
    8 in there. Not off the -- not off the top of my           8   talks about the broad and narrow view and that -- it
    9 head. Ifl were to go back and perhaps just reading       9   talks about the public policy, but there's -- yeah,
   10 a blurb maybe will --                                   10   I guess you didn't-- you didn't feel like it was a
   11 Q          Yeah.                                        11   -- significant enough to mention in your letter?
   12 A          -- trigger.                                  12   You thought your case --
   13 Q          Because I think that's a pretty              13   A          I don't know if it --
   14 important case. That's the one about workers' comp      14   Q          Okay.
   15 benefits offset.                                        15   A          I don't -- I wouldn't call it it wasn't
   16 A          Workers' comp benefit offsets. I mean,       16   significant enough.
   17 would that even apply here?                             17   Q           Okay.
   18 Q          Well, I think it was analogous, which is     18   A          I understood the reason why you placed
   19 why we discussed it.                                    19   it there, but it --
   20 A          But, I mean, it's workers' comp.             20   Q          Because the Court said -- the Court said
   21 Q          And it went through the amendment of the     21   you can't offset by workers' comp.
   22 UIM statute in 1988.                                    22   A          Right. You can't offset --
   23 A          Okay. Right. I --                            23   Q          And so you were trying to argue, you
   24 Q          Do you remember --                           24   know, similarly, you can't offset for these other
   25 A          -- I do remember that where it removed       25   things.

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    1   the to-the-extent language? Is that the one?           1   A          But again, you know, this, again, was
    2   A          Yeah. It added the three sections, the      2   with regards to workers' comp. I mean, that's
    3   three, four, and five in the UIM statute.              3   definitely a fact that is different from the facts
    4   A          Right, right, right.                        4   that we have with this Laura Woods case. And also
    5   Q          Changed it to the broad, and they went      5   too, you know --
    6   through that whole history.                            6   Q          What about this history of --
    7   A          Correct.                                    7   A          -- the question of --
    8   Q          There isn't any mention of that case at     8   Q          -- the amendment of the statute? What
    9   all in your letter, and I think it's a pretty          9   about this history in -- it was amended in '88, and
   10   important case. I'm wondering --                      10   then in '98 they added this section -- let's see --
   11   A          Well, I think --                           11   this part about adding three, four, and five to the
   12   Q          I'm wondering why you omitted it.          12   UIM statute. In fact, let's -- let's pull up that
   13   A          I -- I think while I understand what       13   UIM statute.
   14   you're saying, I mean, it still, if I remember        14   A          Sure.
   15   correctly, revolved a workers' comp issue --          15   Q          This is the Kentucky statute. Soin'98
   16   Q          Yeah, and what --                          16   they added three, four, and five, and I think five
   17   A          -- if I remember correctly.                17   is particularly germane, but it ends with, nothing
   18   Q          Right. We -- we couldn't find a case,      18   in this section, including any payment or credit
   19   you know, exactly on all fours --                     19   under this subsection, nothing reduces or affects
   20   A          Right.                                     20   the total amount of uninsured -- of underinsured
   21   Q          -- but -- trying to find it in the         21   motorist coverage payable to the injured party.
   22   letter. There it is on page nine.                     22            That seems pretty important to me. Why
   23   A          Right. It removed the to-the-extent        23   -- why didn't you address that in your letter or try
   24   language. Yep.                                        24   to distinguish it? Because all the cases seem to
   25   Q          Yeah.                                      25   focus on -- on this statute.


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    1   A          Yeah. And I think you get there if you       1 you remember that -- either in the letter we wrote
    2   decide that Kentucky is the governing state law         2 or Judge Hood's letter or opinion that you remember
    3   here. And it's not to say, again, that your -- your     3 that you felt weren't applicable, that you could
    4   case research wasn't thorough and well-written. It      4 distinguish, et cetera. Any-- anything that you're
    5   absolutely was. I was of the opinion that               5 like, oh, that case doesn't apply because of this or
    6   Connecticut state law applied.                          6 that?
    7             And so like I said, I read the case. I        7 A          Sure. So again, I did not read Hood's
    8   understood that the language was changed in the         8 opinion. So can't speak to the cases that I have
    9   statute. I understand that there is that sentence       9 not read in your opinion that are cited there. I'm
   10   there that you underlined, but I think you get there   10 trying to think.
   11   once you determine that Kentucky is the governing      11 Q          Did the -- did -- did some of the cases
   12   state law, and I didn't get there. My conclusion       12 in my letter you just--you didn't bother to read?
   13   stated otherwise.                                      13 A          Yes, because I understood them to be
   14   Q          Let's go to Exhibit 32. So Exhibit 32       14 true. Didn't read Riggs, and I think -- I think it
   15   is a kind of a chart of cases. These are state and     15 was Watts that I didn't -- Wall ace that I didn't
   16   federal conflicts of law authorities is a              16 read.
   17   restatement, but the rest are cases. This is what      17 Q          Okay. Well, there's no mention ofl
   18   we -- we cited in our letter, you cited in your        18 would say most of the cases that -- that we cited.
   19   letter, and then the Court, Judge Hood, ultimately     19 And so you -- you took a different approach,
   20   thought were germane in his opinion which found that   20 obviously. But sitting here today do you remember
   21   Kentucky law applied. So in the -- in the Gess         21 if any of these cases in your view were inapplicable
   22   Mattingly, the GMA letter, we've got Hodgkiss-         22 or unpersuasive or anything like that?
   23   Warrick, Restatement, Stonewall, Asher, Riggs, et      23 A          Well, I'm trying to think through.
   24   cetera. And so the red cases are cases that are        24 Q          Coots is a big case in Kentucky on UIM,
   25   cited by more than one of us. So the black cases       25 which is why it's there. It's a older case.


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    1   were only cited by the -- by the particular person      1   A          I'm just trying to remember the -- the
    2   who authored the letter or opinion.                     2   facts behind each case and I could tell you why I
    3            So Hodgkiss-Warrick is a pretty                3   thought that they were -- they were different.
    4   important case. All three of us cited that one.         4   Q          Do you remember the facts of any of them
    5   Restatement, which is where this -- kind of this        5   where you can tell me --
    6   comes from, the conflicts-of-law test cited by Woods    6   A          I think --
    7   and by Hood, you didn't look at that in your letter.    7   Q           Go ahead.
    8   Philadelphia versus --                                  8   A          -- International was the Louisiana and
    9                 (Said document is filed with this         9   Ohio. They took into the consideration the -- the
   10            deposition and marked as Plaintifr s          10   factors that -- that we've talked about, the
   11            Exhibit No. 32 for purposes of                11   contracting, the negotiating, the performance of --
   12            identification.)                              12   the place of performance. I know Asher said that
   13   A          I'm sorry. What was it that I didn't        13   the -- the named insured no longer had an interest
   14   look at in the letter?                                 14   because I think he was dismissed from the case or
   15   Q          The re -- oh, no, the Restatement. Is       15   something of -- of that sort.
   16   that in your letter?                                   16   Q           Okay.
   17   A          It is.                                      17   A          And I remember being, well, I don't know
   18   Q          Okay. So that's a typo. So the              18   how that is -- that is on point because, I mean, in
   19   Restatement 188, yeah, that's right. That's a typo.    19   this case the -- the named insured has an interest;
   20   So that should be there.                               20   the policy's drafted and written to him. The car is
   21   A          Uh-huh. (Affirmative)                       21   registered in I believe in -- in his or Paula's
   22   Q          But for example, Lacrosse and Thaxton       22   name. It was our belief that the car was garaged,
   23   were not cited by us or Judge Hood. And so your        23   it was -- it was there in -- in Connecticut, and,
   24   letter was the shortest and the leanest. But I'm       24   you know, just for the various factors that we
   25   just wondering if there are any of these cases that    25   talked about before I thought it was a


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    1   distinguishable case.                                   1   stating them all well, but -- but I did.
    2   Q          Anything else? Any other cases that you      2   Q          Okay. I'm curious why you haven't --
    3   remember?                                               3   why you never read Judge Hood's opinion.
    4   A          Yeah, yeah. There was the LaFrange case      4   A          It was never provided to me. Quite
    5   that dealt with two Kentucky residents. They            5   frankly, my -- my --
    6   rejected the limits-less-paid approach I believe. I     6   Q          It's a published -- it's a published
    7   know that they were struck, they were severely          7   decision on Westlaw. Your name is in there.
    8   injured, the driver's name was Richardson. The          8   A          Oh, is it?
    9   driver had the policy limit of -- okay, I remember      9   Q          Yeah.
   10   now. I think LaFrange was the case that was before     10   A          Again, I -- once my involvement was
   11   all of the UIM statutes were modified, if I remember   11   concluded, I -- that was --
   12   correctly because they -- LaFrange had a -- Greg       12   Q          Close the file.
   13   Richardson had a $25,000 policy, and I think the UIM   13   A          -- that was my -- well, that was my --
   14   policy was $25,000, so it was kind of a net zero       14   Q          Move on.
   15   gain, and I think that was the reason why they went    15   A          Well, that was my -- well, that was my
   16   through modifying the UIM. That may have been one      16   -- the extent of my involvement.
   17   of the cases that required them to -- where they had   17   Q          Okay. Did you speak to -- before the
   18   to take a look at the -- the UIM statute. Am I --      18   deposition stuff, did you speak to Parsons or --
   19   am I right about that one, LaFrange?                   19   after you sent your letter about the letter or
   20   Q          I think so.                                 20   anything?
   21   A          Okay.                                       21   A          No. No. After I submitted my-- my
   22   Q          They kind -- they kind of run together      22   opinion to -- to -- to Matt, I had no further
   23   for me as well.                                        23   conversations with him.
   24   A          Tell me about it. I know. I know.           24   Q          Okay. Have you been involved in the
   25   Q          Anything else you remember that sort of     25   litigation strategy, planning, anything of that


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    1   sticks out as like, you know, this case, you know,      1 nature? Have you been privy to those
    2   doesn't help them at all or this case doesn't seem      2 communications?
    3   applicable?                                             3 A          No. Not at all, no.
    4   A           I remember with -- I remember with Asher    4 Q          So you've not advised Travelers about
    5   one of the reasons why I thought that it wasn't         5 what to do in this particular case? That's been
    6   applicable was because, again, the Court said that      6 somebody else's job?
    7   Asher no longer had an interest in the case because     7 A          Outside of my opinion, no, I had no
    8   he was dismissed from the suit, and I didn't really     8 involvement.
    9   think that was on point with what we were talking       9 Q          Okay. And again, was the -- was the
   10   about.                                                 10 letter -- you said you spent about two weeks on it.
   11             I know with National Union Fire              11 Were you working on other things at the same time,
   12   Insurance, one of the things that you called out       12 other -- I've got various files. I don't work on
   13   there was that choice-of-law analy -- the choice-of-   13 one thing; I work on several things. Is that your
   14   law provision wasn't stated in the -- it was I think   14 -- your experience also, or were you --
   15   stated in the policy. But my thought was, well,        15 A          Yeah. Yes.
   16   that was only a -- a factor that -- that bolstered     16 Q          -- doing this one thing for two weeks?
   17   the -- the -- the most significant relationship test   17 A          No. No. I was working on other things
   18   that -- that the Court had issued. It was one of       18 as I was working on this.
   19   the things that just bolstered it. But again, it       19 Q          I gotcha. So when you say two weeks,
   20   was just a factor, and I know that our policy is       20 that's not the total amount of time. That's kind of
   21   silent on that in terms of a choice-of-law             21 what I'm getting at. You didn't -- you wrote it --
   22   provision. But again, its absence or its presence      22 A          The amount of hours?
   23   is merely a factor to -- to consider. It's not the     23 Q          You wrote it over a two-week period.
   24   end-all/be-all, you know. And so I know that I         24 You didn't spend 80 -- 80 hours writing it; correct?
   25   reviewed a good portion of your cases. I may not be    25 A          No. No, I did not spend 80 hours. At


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    1   least I don't believe I spent 80 hours writing it.      1   with that material once your coverage letter is
    2   Q          But--                                        2   complete? What was your habit?
    3   A          But it was over a course of two weeks        3   A         I -- I would typically just disregard --
    4   that I got it.                                          4   discard the -- sorry -- discard the -- the
    5   Q          Over a course of -- yeah, because you        5   documents.
    6   had 28 days between, so that makes sense. Do you        6   Q         Just throw them in the trash or in the
    7   know about how much time you spent on this              7   shredder?
    8   assignment?                                             8   A         The shredder the cases, right.
    9   A          No. I have no way to accurately tell         9   Q         In this particular case did you keep
   10   you how long, how many hours I dedicated to this.      10   anything?
   11   Q          Five, 20 hours? Can you give me your        11   A         No.
   12   best estimate?                                         12   Q         Okay. Do you have any kind of
   13   A          Twenty, 25 hours perhaps --                 13   electronic file that is somewhere within Travelers'
   14   Q          Okay.                                       14   control that would have -- sorry; there's some
   15   A           -- because of all the reading that I had   15   ambulance -- that would -- that would contain, you
   16   to do.                                                 16   know, some of your notes or anything?
   17   Q          Yeah. It's a lot of cases; right?           17   A         Not that I held onto.
   18   A          Uh-huh. (Affirmative) Yes.                  18   Q         Okay.
   19   Q          And again, nobody really reviewed --        19   A         Whether it's archived I can't -- I don't
   20   well, did you send it to Parsons to review? I can't    20   know. I did not hold onto anything. I don't think
   21   remember if -- if anybody reviewed it --               21   I saved anything on my Desktop or anything like
   22   A          No.                                         22   that.
   23   Q          -- before the final. Okay.                  23   Q         Who would know about that?
   24   A          I did not send it to Parsons.               24   A         I don't -- I can't tell. I -- I don't
   25   Q          Oh, you sent it to Ms. Allen?               25   know.

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    1   A          Yes.                                         1 Q           Okay.
    2   Q          Okay.                                        2 A           I don't know. I don't know how that
    3   A          I would have sent it to Ms. Allen.           3 process works.
    4   Q          Okay. And then she forwarded it on?          4 Q          What do you do -- what do you do with
    5   A          No. I was -- I was the one that sent it      5 the insurance policy and, you know, the claim file
    6   to Matt.                                                6 materials that you might get and print out? What do
    7   Q          You -- you -- right, right, because the      7 you do with all that stuff?
    8   e-mail says from you.                                   8 A           I usually discard them --
    9   A          Precisely.                                   9 Q           Okay.
   10   Q          Okay. Okay. Did you copy Ms. Allen --       10 A           -- after the policy -- after the opinion
   11   A          I believe I did.                            11 is drafted.
   12   Q          -- or did you-all have any --               12           Sorry; these cases are now coming back
   13   A          I think it's on the letter.                 13 to me. Just like I'm just -- because I know that I
   14   Q          Okay. Okay. When you use Westlaw, do        14 read through them, so --
   15   you print cases and underline them?                    15 Q           Yeah. I've dreamed about them.
   16   A          Oh, yes.                                    16 A           I'm sure.
   17   Q          Yeah, me too. So you -- for this            17 Q           Yeah. Did you at any time feel like
   18   assignment you sort of created some paper; right?      18 pressure or that you needed to come to a conclusion
   19   A          I believe so. I -- I have a tendency to     19 that was consistent with Mr. Parsons' view --
   20   print out cases or statutes or whatever to -- I need   20 A           Not at all.
   21   the hard paper in my hand --                           21 Q           -- to be kind of a team player?
   22   Q          Sure.                                       22 A           Not at all.
   23   A          -- to really understand it, so yes, yes.    23 Q           Were you ever concerned maybe in the
   24   Q          I'm exactly the same way. I've got to       24 back of your mind that you might receive some kind
   25   highlight and underline and star. What do you do       25 of negative performance reviews if you disagreed


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                                                       149                                                           151
    1   with, you know, the initial company position on         1   assignment came from? In this case --
    2   these offsets?                                          2   A          Many times, yeah.
    3   A          Not at all.                                  3   Q          In this case Parsons felt like
    4   Q          Did you receive compensation or extra        4   Connecticut law applied, 39,000. You concluded the
    5   bonuses for making coverage determine --                5   same thing. Did you ever disagree with the initial
    6   determinations that were favorable to Travelers?        6   -- the adjustor's view?
    7   A          Not at all.                                  7   A           Yes, I have.
    8   Q          Your compensation has nothing to do with     8   Q          How often?
    9   -- well, let me -- how is your bonus calculated?        9   A           In the -- in the -- I don't know -- 100,
   10   A          I don't -- I don't know how it's            10   50 -- between 50 and a hundred or so that I've
   11   calculated.                                            11   drafted, it's -- it's really hard to put a number to
   12   Q          Do you get a bonus annually?                12   it.
   13   A          Yes.                                        13   Q          Just do your best.
   14   Q          Do you know what factors are used to        14   A           I mean, our professionals are --
   15   determine it?                                          15   Q          Well, you're --
   16   A          No.                                         16   A           -- are oftentimes spot on.
   17   Q          Is -- is -- is the claim payout, the        17   Q          Right.
   18   amount that's paid out on claims, does it factor       18   A           You know, sometimes they're not, so
   19   into the -- the formula for -- for a particular        19   maybe --
   20   unit? Is your-all's -- the unit that you're in, is     20   Q          Right. You talk about being a team, and
   21   there some kind of performance-based --                21   I'm wondering if -- you know, nobody likes being
   22   A          I don't believe --                          22   told they're wrong, and so that's hard just as human
   23   Q          -- criteria that --                         23   nature. But, you know, sometimes you -- you have to
   24   A          I don't -- I don't believe so, no.          24   give that bad news.
   25   Q           Okay.                                      25   A           Well, I mean, our profession, we give

                                                       150                                                            152
    1   A          No, not at all.                              1   bad news pretty often. So regardless of what --
    2   Q          Do you think you received better             2   what I would -- giving bad news, I'm using air
    3   performance evaluations for making coverage             3   quotes, or -- or not agreeing with the
    4   determinations in Travelers' favor?                     4   professional's analysis isn't foreign to me. It's
    5   A          Not at all, no.                              5   -- it's -- it's -- I've done it often. And -- but
    6   Q          In the SO-plus coverage letters that you     6   to put a number to it, it's difficult for me to do.
    7   did in this time period, did you ever reach the         7   Q             Okay. Fair enough. Did you provide any
    8   conclusion that was less favorable to -- in other       8   materials to counsel in this case? Like we asked
    9   words, found that there was full coverage or found      9   for e-mails, for example. Were you asked to provide
   10   that there should be a payment when the initial        10   any kind of documentation, whether electronic or
   11   evaluation was there shouldn't be?                     11   paper, that you ended up producing to Mr. Keller or
   12   A          Yes.                                        12   Mr. Maloney?
   13   Q          So you arguably wrote coverage letters      13   A             I was not asked.
   14   that were unfavorable to Travelers?                    14   Q             You were not asked? Somebody else?
   15   A          Yes, I guess if you want to put it that     15   A             I don't believe -- I could be wrong. I
   16   way. I -- I -- I've drafted --                         16   can't remember. I might've been asked to provide
   17   Q          Use your words.                             17   whatever I have.
   18   A          I've drafted opinions that would either     18   Q             Were you asked to do a search of your e-
   19   -- based on the coverage issue, of course, and the     19   mails for anything relating to Woods?
   20   facts surrounding it would either confirm or provide   20   A             I -- I could have been. I cannot
   21   coverage or remove that coverage or exclude that       21   recall.
   22   coverage.                                              22   Q             You don't remember?
   23   Q          What about a -- how many -- did you ever    23   A             I do not remember.
   24   write a coverage letter that was different from the    24   Q             Could -- today could you search your e-
   25   view expressed by the assigning -- by who the          25   mails and pull up Woods ifit said Woods or the


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    1   claim number? Could you do that?                        1   Q          Who -- who -- how's -- who does that; do
    2   A          If it was within the last two years,         2   you know?
    3   then -- then -- then yes. If it goes beyond that I      3   A         Who issues the hold?
    4   -- I don't know.                                        4   Q          Yeah. Who issues the hold?
    5   Q           So December '18 goes beyond that,           5   A         I -- I don't know that.
    6   doesn't it?                                             6   Q          Okay. Have you ever seen one of these?
    7   A          Precisely.                                   7   Is there some kind of a -- do you get a message? Is
    8   Q           Yeah. Did anybody ever tell you to          8   there something put on the file cabinet that says --
    9   preserve any e-mails relating to this case because a    9   A         It's -- I don't know what is -- what is
   10   lawsuit had been filed?                                10   seen on a -- on a -- on the Claim Platform, but I do
   11   A           I'd have to -- I mean, I don't -- I        11   know that you would get some type of a
   12   don't recall. If they did, I would've absolutely       12   communication, whether it's a pop-up -- I think it's
   13   done so. So I don't -- I do not recall.                13   an e-mail, but I -- I mean, I haven't seen one of
   14   Q           Is there a procedure for doing that?       14   those in quite some time, so I can't -- I can't
   15   How would you -- how would you go about preserving     15   recall, and I don't want to --
   16   -- let's say you handled a matter in 2020 and it       16   Q          Yeah.
   17   results in litigation, and so -- and you were          17   A          -- lead you down the wrong path.
   18   involved somehow, and so you're asked to preserve      18   Q          So it could be an e-mail, it could be
   19   any e-mails relating to this case. What's the          19   some kind of warning in the -- in the file cabinet?
   20   procedure for doing that? How would you go about       20   A          Correct.
   21   doing it?                                              21   Q          Okay. But you haven't seen it very
   22   A           Usually they issue a hold, and -- they     22   often?
   23   meaning the company. I don't know who in the           23   A          Right.
   24   company issues that hold, but someone issues a hold.   24   Q          You know it happens, but you haven't
   25   And the -- the documents that have been uploaded to    25   seen it?

                                                       154                                                          156
    1   the claim file, that -- that is preserved. The          1 A          Correct.
    2   notes are preserved. And they ask that any -- any       2 Q          Okay. Did you ever forward your -- some
    3   e-mails exchanged should have also been uploaded        3 of your work e-mails to a personal account so you
    4   into the file cabinet. And so that's why those --       4 would have kind of a backup?
    5   those e-mails would be -- those e-mails would be        5 A          No.
    6   preserved there.                                        6 Q          Did you ever do that?
    7   Q          The reason I ask is --                       7 A          No.
    8   A          Yep.                                         8 Q          Okay. So we wouldn't -- from a -- you
    9   Q          -- it's really odd to me, and maybe I'm      9 wouldn't have any Woods-related stuff under another
   10   just -- we've gotten zero internal e-mails. The        10 e-mail address?
   11   claim notes or the claim file references a lot of e-   11 A          Absolutely not.
   12   mails between Travelers and my office or Travelers     12 Q          Okay. Let's see. So Travelers fought
   13   and third parties, but we got no internal Travelers    13 about -- over your deposition in the litigation for
   14   e-mails about this. Well, that's not true. We've       14 over a year, multiple motions, responses, pleadings,
   15   gotten -- we've gotten some from Mr. Keller and        15 preliminary ruling in the magistrate judge, final
   16   Ms. Allen and that sort of thing, but back in --       16 ruling in the magistrate judge, appeal to the
   17   back in November, December 2018, October, this         17 district judge, all over whether you would appear
   18   Exhibit 27 is really the only thing we've gotten       18 for your deposition. It took over a year to get an
   19   internal, internally, with just Travelers people.      19 order from Judge Hood ordering you to appear,
   20   And I wonder if you know, was a hold put on the        20 ordering Travelers to make you available. Do you
   21   Woods claim file cabinet because of this litigation;   21 know anything about that?
   22   do you know?                                           22              MR. KELLER: Object. Object to the
   23   A           No, I don't know. If it -- if it -- if     23           form.
   24   it was I wouldn't have been privy to that because I    24 Q          I mean, that's all on Westlaw too.
   25   wasn't handling the claim file.                        25 A          Again, once my -- once my involvement


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    1   ended, that was the extent. I was aware that there      1   A          It could.
    2   were -- and I don't know the extent of it, quite        2   Q          Okay. Misrepresenting facts or the
    3   frankly -- that there were still things going on. I     3   insurance policy provisions, failing to acknowledge
    4   didn't know the details of all of it. But again,        4   and act reasonably promptly on communications, et
    5   once my involvement ended, that was pretty much --      5   cetera, et cetera. If Travelers misrepresented
    6   that was pretty much it for me.                         6   pertinent facts or insurance policy provisions
    7   Q          I'm just curious why. What's the big         7   relating to coverages, would that be a violation of
    8   hubbub about you testifying? I don't get it. Do         8   this act?
    9   you know why they were so resistant to producing you    9                 MR. KELLER: Objection to the form.
   10   for deposition?                                        10            Go ahead.
   11   A          I do not know.                              11   A          If they did, sure.
   12   Q          You should read the opinions.               12   Q          Six is not attempting in good faith to
   13            Do you know of any evidence that you'd        13   effectuate prompt, fair, and equitable settlements
   14   seen that would suggest Laura Woods lived with her     14   of claims in which liability has become reasonably
   15   parents or used the Toyota Tacoma on a regular         15   clear. If Travelers did that, would it be in
   16   basis?                                                 16   violation of this act?
   17   A          There was no evidence suggesting that       17                 MR. KELLER: Same -- same objection.
   18   Laura Woods lived with her parents. Is that -- that    18             Go ahead.
   19   was the first part of the question?                    19   A          If Travelers did exactly what six says,
   20   Q          Yeah.                                       20   then yes.
   21   A          Now can you repeat the second part?         21   Q          How about seven? If they compelled
   22   When you clump the questions up like that it's hard    22   insureds to institute litigation to recover amounts
   23   for me to answer each.                                 23   due under an insurance policy by offering
   24   Q          Sorry. Okay, yeah. First part was           24   substantially less than the amounts ultimately
   25   lived with her parents. Second part, used the          25   recovered in actions brought by such insureds, if


                                                        158                                                        160
    1   Toyota Tacoma on a regular basis.                       1 Travelers did that, would they be in violation of
    2   A         Yes.                                          2 the act?
    3   Q         Do you know of any evidence that she          3 A         If they did --
    4   used the Toyota Tacoma on a regular basis?              4              MR. KELLER: Same objection.
    5   A        No, I don't know of any evidence that          5 A          If they did, yes.
    6   suggested that.                                         6 Q          Seven;okay,yeah.
    7   Q         Because this was a Kentucky loss, would       7          I'm going to look at the complaint now,
    8   you agree that Kentucky's Unfair Claims Settlement      8 and it's in one of the Woods exhibits. It is one of
    9   Practices Act applies to Travelers' conduct?            9 the Woods exhibits. Exhibit 20 from the Woods
   10   A         I would --                                   10 deposition is the complaint. Have you ever seen
   11               MR. KELLER: Object to form, but go         11 this before, Ms. Darout?
   12           ahead. Go ahead.                               12 A          No.
   13   A         What does the Kentucky claims -- I'm         13 Q          Okay. This was filed in state court
   14   probably saying it wrong, but what does it say?        14 here in Kentucky in Fayette County, Fayette Circuit
   15   Q         I'll show you. Unfair Claims Settlement      15 Court, and then it was removed to federal court by
   16   Practices Act, Exhibit 37, it prohibits certain        16 -- by Standard Fire. So that's why -- that's why it
   17   conduct by an insurance company. It's KRS 304.12-      17 says circuit court. And you've seen complaints
   18   230, and a copy is Exhibit 37.                         18 before; right?
   19               (Said document .is filed with this         19 A          I have.
   20           deposition and marked as Plaintiffs            20 Q          Yeah. So we start off with the parties
   21           Exhibit No. 37 for purposes of                 21 and so forth. Let's go down to paragraph 18.
   22           identification.)                               22 Eighteen says, the PIP -- PIP benefits paid or
   23   A         Okay.                                        23 payable under the Kentucky Motor Vehicle Reparations
   24   Q         Do you know whether this applies to          24 Act, KRS Chapter 304.39, the MVRA, are no-fault
   25   Traveler on a Kentucky loss?                           25 benefits. They are paid regardless of who is


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    1 responsible for the subject motor vehicle collision.         1 behalf of persons or organizations who may be
    2         Would you agree with that?                           2 legally responsible, close quote, within the meaning
    3 A           Yes.                                             3 of paragraph Cl on page UIM-2 of the policy.
    4 Q          Paragraph 19: The med pay benefits paid           4             MR. KELLER: Objection to the form.
    5 or payable under the capital P policy, and that's            5           Go ahead.
    6 the -- that's the Newberry policy, are paid without          6 Q             Is that true?
    7 regard to liability. They are paid regardless of             7 A             The PIP and med -- correct.
    8 who is responsible for the subject motor vehicle             8 Q             Correct?
    9 collision.                                                   9 A             Yeah. I'm sorry. Can you not hear me?
   10          Is that true?                                      1O Q             Sorry. Yeah. I had a little -- I lost
   11 A           Yes.                                            11 you there for a second. Thank you. Okay.
   12   Q          Number 20: No express condition,               12          And then finally, 23: PIP and med pay
   13   exclusion, term, or language in the policy permits        13 -- med pay benefits were not paid or payable to
   14   the setoff, paren, or reimbursement, close paren, of      14 Woods or her medical providers, quote, by or on
   15   PIP and med pay benefits paid or payable under the        15 behalf of persons or organizations who may be
   16   policy from the limits of the UIM benefits available      16 legally responsible, close quote, within the meaning
   17   under the policy.                                         1 7 of the policy.
   18               MR. KELLER: Objection to form. Go             18              MR. KELLER: Objection to form. Go
   19            ahead.                                           19           ahead.
   20 Q         Is that true?                                     2O Q          Is that true?
   21 A         I think we talked about this before.              21 A          Just reading it one more time. Number
   2 2 And while it may not be expressly stated, I think          2 2 23; right?
   2 3 you could interpret it as -- as being allowed for.         23 Q             Yeah. Go ahead.
   24 Q           Contemplated. Contemplated maybe?               24 A         Correct. But again, I -- I think as we
   25               MR. KELLER: Object to form. Go                2 5 spoke before, that they could be read in.

                                                            162                                                            164
    1          ahead.                                              1           I apologize; those are my dogs.
    2 A         I -- I -- I will stick with it can be              2 Q          Oh, that's okay. I can barely hear
    3 interpretated as such.                                       3 them.
    4 Q           Okay. Interpreted?                               4 A             Someone must be here.
    5 A         Interpreted. I said -- you said                    5 Q       How do you think Laura Woods feels about
    6 contemplated. I'm sorry; I'm all over the place.             6 how Travelers has treated her?
    7 I'm so sorry.                                                7              MR. KELLER: Objection; calls for
    8 Q           That's okay. You're doing great.                 8           speculation. Go ahead if you know.
    9 A           Yes. Yeah. Yes.                                  9 A          I don't know.
   10   Q        Do you need a -- you need a break?               10   Q        Do you have anything you'd like to say
   11   We're going to -- we have a little bit more to go         11   to her? Because this may be your only opportunity.
   12   and we can push on.                                       12   A         I'm sorry that she was involved in an
   13   A         Nope.                                           13   accident. I hope that she is recovering, and I hope
   14   Q         Okay.                                           14   that she continues to recover, and I -- I truly do
   15   A         Let's -- let's keep going.                      15   wish her the -- the best.
   16   Q         Okay. Twenty-one: PIP and med pay               16                MR. STOLTZ: Thank you. Can we take
   17   benefits were paid or payable by Travelers to Woods       17            a short break, five minutes?
   18   or to her medical providers as a result of the            18                MR. KELLER: That's fine with me.
   19   subject collision. Is that true?                          19            Are you done, Steve, or are you not
   20 A           You said 21?                                    20            sure?
   21 Q           Twenty-one.                                     21                MR. STOLTZ: I -- I want to -- I
   22 A           Yes.                                            22            want to look over my notes, and I want
   23 Q        Okay. And then 22, scoot down a little,            23            to talk to Stefan.
   2 4 PIP and med pay benefits were not paid or payable to       24                MR. KELLER: Sure. That's fine.
   2 5 Woods or to her medical providers, quote, by or on         25                MR. STOLTZ: Well, let's take ten.


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                                                                                        42   (Pages 165 to 168)
                                                         165                                                              167
    1               VIDEOGRAPHER: Okay. The time is             1   Q         So you've seen that before?
    2           1:32 --                                         2   A         I have.
    3               MR. STOLTZ: Because I may -- I may          3   Q        Okay. You say you haven't read Judge
    4           be done.                                        4   Hood's coverage opinion.
    5               MR. KELLER: Okay.                           5   A         I have not.
    6               VIDEOGRAPHER: -- and we're off the          6   Q          Okay. So I'm going to give you some
    7           record.                                         7   time to do that, and then I'm going to ask you some
    8                (A brief break is taken.)                  8   questions about it, so now you get to read it. So
    9               VIDEOGRAPHER: We're now back on             9   it's 17, 18 pages, double-spaced. It's about nine
   10           video record. The time is 1:44.                10   pages single-spaced. What do you need, 15 minutes,
   11               MR. STOLTZ: Thank you.                     11   20 minutes?
   12 Q          Ms. Darout, we were talking about Exhibit     12   A          I mean, in order for me to truly parse
   13 37, which is the Unfair Claims Settlement Practices      13   that out and understand what I'm reading, I -- I --
   14 Act in Kentucky. Are you familiar with unfair claim      14   I don't know.
   15 settlement practices laws in different states?           15   Q          Okay. Well, let's try-- let's try 20
   16 A           No. It'd be one of those -- because I'm      16   minutes. You have access to the opinion, Exhibit
   17 sure it might vary from state to state, depending on     17   31. We sent you a Dropbox link. It's a PDF. It's
   18 the state I'd have to do a bit of research.              18   31.
   19 Q          You know that these laws exist in             19              (Said document is filed with this
   20 various states?                                          20           deposition and marked as Plaintiffs
   21 A           I do. I do.                                  21           Exhibit No. 31 for purposes of
   22 Q           Okay. And before today had you ever          22           identification.)
   23 read the Kentucky statute?                               23   A         Have to go back to Exhibit 31. Let's
   24 A           No.                                          24   see here.
   25 Q           Okay. And I know you've read the IDM         25   Q         I think you'll find it interesting.


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    1 statute because you had to to -- to do your opinion;      1   There used to be a guy on the radio --
    2 right?                                                    2   A         Exhibit 31?
    3 A          Yes. Yes; that is correct.                     3   Q         Thirty-one.
    4              MR. STOLTZ: So that's Exhibit 36.            4   A         Okay.
    5              (Said document is filed with this            5   Q         Is that the memorandum opinion and
    6           deposition and marked as Plaintiffs             6   order?
    7           Exhibit No. 36 for purposes of                  7   A         Yes.
    8           identification.)                                8   Q         So take -- we'll take 20 minutes and
    9   Q          There's one we haven't talked about,         9   take a look and review this and see what you think.
   10   which is the PIP statute, 304.39-250, Exhibit 35.      10   I think you might be curious about it.
   11   It says -- it's entitled, Deduction and setoff, and    11 A            Are there any specific sections in
   12   it's within the Motor Vehicle Reparations Act. It      12   particular or just read the whole?
   13   says, except as otherwise provided in this subtitle,   13   Q          No. It reads pretty well. It's not--
   14   basic reparation benefits shall be paid without        14   it's not full of too many case cites. It reads
   15   deduction or setoff.                                   15   pretty well. But, you know, this is the conclusion
   16             Had -- had -- were you familiar with         16   of our litigation over this coverage question, which
   17   this statute, Ms. Darout, before today?                17   kind of started with you. And I just kind of want
   18                 (Said document is filed with this        18   to -- want to ask you a few questions about -- about
   19             deposition and marked as Plaintiffs          19   how it turned out.
   20             Exhibit No. 35 for purposes of               20            There's an old -- there's a -- used to
   21             identification.)                             21   be a radio guy on -- on the radio, it was Paul
   22   A          Yeah, I believe you might've mentioned      22   Harvey, and it was before your time I'm sure, but he
   23   it in your letter.                                     23   would have kind of an interesting something, little
   24   Q           Okay. Okay.                                24   segment, and then there'd be a commercial break and
   25   A          So yes.                                     25   then he'd say, now the rest of the story. So this


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    1 is kind of the rest of the story.                         1 justifies application of Kentucky law. On that
    2 A         Okay.                                           2 point Woods is correct.
    3             lvlR. STOLTZ: Let's take -- let's             3           The Kentucky General Assembly has
    4          take a break and we'll -- we'll try to           4 established that setoff provisions, like the one in
    5          get back together at 12 -- 2:10.                 5 the Standard Fire policy, violate public policy of
    6             THE WITNESS: Okay.                            6 the Commonwealth of Kentucky. The 1988 revision to
    7             lvlR. KELLER: Is that going to give           7 the UIM statute reflects a broad view ofUIM
    8          you enough time, Enante, 20 minutes?             8 coverage and makes UIM coverage available up to the
    9             THE WITNESS: 1--we'll come back               9 policy limit of the insured, and they cite the
   10          in 20 minutes and we'll see where I am.         10 statute -- he does. As a result, the Kentucky
   11             lvlR. STOLTZ: Okay.                          11 General Assembly has clearly stated that setoff
   12             lvlR. KELLER: Okay.                          12 provisions pertaining to UIM benefits violate the
   13             VIDEOGRAPHER: It's 1:49 --                   13 public policy of Kentucky.
   14             lvlR. STOLTZ: Thank you.                     14           The Kentucky Supreme Court has also
   15             VIDEOGRAPHER: -- and we're off the           15 recognized that setoff provisions pertaining to UIM
   16          record.                                         16 benefits violate the public policy of the
   17             (A brief break is taken.)                    17 Commonwealth, stating -- and they go through a quote
   18             VIDEOGRAPHER: We're now back on              18 from Philadelphia versus Morris. At the end he
   19          video record. The time is 2: 11.                19 emphasizes, which is the Court in Philadelphia
   20 Q          Okay. We're back from a break.                20 talking, we now hold that an insurance carrier
   21 Ms. Darout, did you have a chance to skim the --         21 cannot set off workers' compensation benefits
   22 Judge Hood's opinion letter or order?                    22 against the policy's face amount ofUIM coverage.
   23 A         Yes.                                           23 To do so would be to violate the public policy of
   24 Q          Okay. I'm going to -- if you want to          24 this Commonwealth as clearly established [sic] by
   25 look at the -- the one on your screen, but I'm going     25 the legislative revision of the UIM statute, and


                                                         170                                                       172
    1   to scoot down here to page 11 and try to blow that      1   he's citing Morris.
    2   up a little bit. So the first part of his opinion       2             Of course, in Morris the Kentucky
    3   he goes through the facts and he talks about the        3   Supreme Court was dealing with a case that involved
    4   first part of the test, which is the significant        4   setoff based on workers' compensation benefits --
    5   relationship test. He agrees that Connecticut has       5   it's a difference, as you pointed out, Ms. Darout --
    6   the most significant relationship.                      6   not setoff due to money paid under another insurance
    7             And then part B on page 11 he starts          7   policy. Even so, the reason for the setoff is
    8   talking about the public policy exception, and this     8   immaterial under Kentucky law. At bottom, Kentucky
    9   is what he says. He says, notwithstanding the           9   law prohibits the setoff or deduction of any
   10   outcome of the most significant relationship test,     10   previously received benefits from the amount ofUIM
   11   Woods contends that Kentucky law should apply as a     11   coverage available under an insurance policy. As a
   12   matter of public policy. It is true that Kentucky      12   result, the Kentucky Supreme Court has also clearly
   13   courts may refuse to apply the law of another          13   explicated that setoff provisions pertaining to UIM
   14   jurisdiction when application of said law will         14   coverage violate the public policy of Kentucky.
   15   result in enforcement of contractual provisions that   15             Moreover, another judge of the Eastern
   16   contravene Kentucky's public policy, citing Marley.    16   District of Kentucky, which is where our case is
   17   Basically, when engaging in a choice-of-law            17   pending, determined that Kentucky's public policy
   18   analysis, Kentucky courts will disregard the outcome   18   exception applied in a case with strikingly similar
   19   of the most significant relationship test. They'll     19   facts, and he cites a case called Schardein. In
   20   throw that away when another jurisdiction's law        20   Schardein the Court was tasked with determining
   21   violates a public policy as declared by Kentucky       21   which jurisdiction's law would apply to interpret an
   22   courts or the Kentucky General Assembly.               22   insurance policy that was issued to lnd_iana to
   23             Woods claims that Kentucky's public          23   Indiana residents for vehicles that were to be
   24   policy, which disfavors the type of setoff provision   24   primarily garaged and used in Indiana. The accident
   25   like the one found in the Standard Fire policy,        25   at issue occurred in Kentucky and involved a


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                                                                                    44    (Pages 173 to 176)
                                                       173                                                         175
    1   Kentucky resident who was not driving one of the        1   unforeseen under the provisions of the insurance
    2   vehicles listed under the insurance policy but was      2   policy, but this is not such a case. Again, while
    3   covered under the policy as a family member. The        3   it was most likely that a covered accident would
    4   Court acknowledged that the named insureds were         4   occur in Connecticut since the vehicles were to be
    5   Indiana residents and that the policy was issued in     5   primarily used and garaged in Connecticut, it is
    6   Indiana. Still, the Court held that Kentucky law        6   certainly possible that an accident would occur in
    7   applied to interpretation of the contract because       7   another state.
    8   the injured party was a Kentucky resident and his       8             Finally, the Court acknowledges that
    9   estate was entitled to the protections of Kentucky      9   application of the public policy exception in this
   10   law based on the public policy exception.              10   case swallows the most significant relationship test
   11            The application of Kentucky law in this       11   analysis, which points in favor of application of --
   12   case is also bolstered by the fact that the accident   12   of contract -- of Connecticut law. Still, while
   13   giving rise to coverage occurred in Kentucky, and a    13   sitting in diversity, this Court is tasked with
   14   Kentucky resident is seeking benefits under the        14   applying the choice-of-law provisions of the forum
   15   Standard Fire policy. While the residency of the       15   state and resolving this threshold issue in the same
   16   party seeking benefits is not dispositive in the       16   way as it would likely be resolved by the Kentucky
   17   most significant -- in the most significant            17   Supreme Court. Kentucky courts have demonstrated a
   18   relationship analysis, it is an important factor       18   willingness to disregard the most significant
   19   when considering whether the public policy exception   19   relationship test and use the public policy
   20   applies. Kentucky has a significant interest in        20   exception in the choice-of-law analysis when a
   21   protecting its residents when they are injured         21   contractual provision clearly violates the
   22   within Kentucky's borders. As such, the public         22   Commonwealth's public policy. Whether that law is
   23   policy exception should apply under Kentucky law in    23   good policy as a general matter is the concern of
   24   this case.                                             24   the Kentucky General Assembly and Kentucky courts
   25            Standard Fire contends that a blanket         25   but not this federal court sitting in diversity.


                                                        174                                                         17 6
    1 public policy exception for application of setoff         1            In sum, the Kentucky public policy
    2 provisions pertaining to UIM benefits is unfair           2   exception requires the application of Kentucky law
    3 because Woods was a second-class UIM insured who was      3   to the Standard Fire policy because the Kentucky
    4 unknown to the insurer and who played no role in          4   legislature, Kentucky courts, and federal courts
    5 forming the policy at issue. It is true that Laura        5   applying Kentucky law in similar circumstances have
    6 Woods was not a named insured or listed as a              6   all recognized that setoff -- that setoff provisions
    7 scheduled driver on the Standard Fire policy.             7   pertaining to UIM benefits in insurance policies
    8 Still, this is not a case where an accident in            8   violate the public policy of the Commonwealth of
    9 Kentucky involving a Kentucky resident is completely      9   Kentucky.
   10 unknown or unfathomable to the insurer. Woods was        10            Even when viewing the facts in the light
   11 covered under the Standard Fire policy because she       11   most favorable to the defendant, the relevant facts
   12 was driving one of the covered vehicles, which was       12   are undisputed. For instance, it is undisputed that
   13 owned by her father, and the policy provided             13   the accident giving rise to coverage in this matter
   14 coverage which was nationwide in scope. Ultimately       14   occurred in Kentucky and involved a Kentucky
   15 Standard Fire could have foreseen that the named         15   resident who was seriously injured. Moreover, even
   16 insured would drive his car into Kentucky or loan it     16   though Laura Woods is not a named insured and is not
   17 to someone driving in Kentucky that might be             17   listed as a scheduled driver on the policy, it is
   18 involved in an accident in Kentucky. Since an            18   further disputed [sic] that Woods is covered under
   19 accident in Kentucky involving a Kentucky resident,      19   the policy because she was driving a covered vehicle
   20 while perhaps unlikely, was foreseeable to the           20   and that the policy provides a coverage territory
   21 insurer, it cannot be said that application of           21   that is nationwide in scope. As such, the question
   22 Kentucky law is unfair based on these facts.             22   of which jurisdiction's law applies to
   23            In some instances application of              23   interpretation of the policy is purely a question of
   24 Kentucky's public policy exception may be unfair         24   law.
   25 where an injured party is completely unknown or          25            When engaging in a choice-of-law


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                                                                                       45 (Pages 177 to 180)
                                                          177                                                              179
    1 analysis, Kentucky courts will not apply the law of        1 there are a couple of things you have to take into
    2 a foreign jurisdiction when application of that law        2 consideration, like the -- you know, was that
    3 results in enforcement of a contractual provision          3 injured person involved in the purchasing and the
    4 that violates the public policy of Kentucky. Here,         4 negotiating of the contracting of the contract, et
    5 notwithstanding the outcome of the most significant        5 cetera, et cetera.
    6 relationship analysis, the Kentucky legislature and        6           So again, I think -- I'm not going to
    7 Kentucky courts have recognized that setoff                7 say that he's incorrect. I just think that we took
    8   provisions in insurance policies violate the public      8 different views on how that should be read.
    9   policy of Kentucky. As a result, Kentucky law            9 Q         Is there anything else that you disagree
   10   applies to interpretation of the contract based on      10 with in Judge Hood's opinion?
   11   the Kentucky public policy exception.                   11              MR. KELLER: Object to the form, but
   12            And it goes on. But the question that I        12          go ahead.
   13   have, Ms. Darout, is, do you agree with him?            13   A       Again, there -- there was a lot there.
   14   A         While I of course respect his opinion         14   I skimmed it, and --
   15   and how he so eloquently prepared and drafted it, my    15   Q          Can you point to anything specific with
   16   research says otherwise, and I would respectfully       16   it in front of you that you disagree with, any --
   17   disagree.                                               17   any language at all?
   18   Q        So you say the judge is incorrect?             18  A           Let's see here. Again, this -- this is
   19   A        I -- I will say that he took a different       19  in -- in his view. I just simply took a simple -- a
   20   view than I did.                                        20  different approach, and -- and just having 20
   21   Q        Okay. What in what I just read to you          21  minutes to review it, it will be hard for me to call
   22   do you disagree with?                                   22  something out right now without -- without more, but
   23  A          Well, I think that you read a lot.            2 3 let me see. I think that the reference to the -- I
   2 4 There was a lot there. But one thing that I can          2 4 think it was the Morris case --
   2 5 just think of in -- in what you were reading is          25   Q         Let me just tell you something about


                                                          178                                                              180
    1 that, you know, I -- I don't think I said it, and if       1 Judge Hood --
    2 I did I misstated. I never said that the public            2   A         Uh-huh. (Affirmative)
    3 policy shouldn't be discussed, that exception              3   Q         -- before you answer that question.
    4 shouldn't be discussed. I think what I was trying          4 A           Sure.
    5 to say is above -- aside from that -- or in addition      .5   Q         Judge Hood's been on the bench for about
    6 to that, rather, I think that there is another             6   45 years in federal court. He's been a federal
    7 analysis that should be had or made once you get to        7   judge. He was a law clerk for a federal judge
    8 that -- that covered policy exception, you know. Is        8   between 1972 and 1976. He was a magistrate judge
    9 the person who was injured, the person who -- what         9   for 14 years, between 1976 and 1990. He's been a
   10 are their ties to -- to the transaction; right? And       10   U.S. District judge appointed by I think Bush One in
   11 -- and what I was trying to get at is that that also      11   1990. He's been on the bench 31 years. He is a
   12 is a -- there are factors to be reviewed I think in       12   senior judge of the Eastern District of Kentucky.
   13 determining that -- that connection to -- to the --       13               MR. KELLER: Is that a question?
   14 to the -- to the policy, to the transaction itself.       14               MR. STOLTZ: The question is, what
   15 So it's not to say that the -- the analysis -- the        15            does she disagree with of his opinion?
   16 analysis should stop at -- at the end of the most         16   Q        What -- what did he get wrong? What --
   17 significant relationship test. I think you and I          17   what did he say about Kentucky law that -- that you
   18 both agree that in Kentucky there is an initial step      18   disagree with specifically?
   19 of reviewing the -- the public policy exception.          19   A         Well, I think, like I said, I just
   20 Q           Correct.                                      20   mentioned a couple of points that I stated. I think
   21   A         But what I was trying to get at, and          21   the analysis doesn't --
   22   perhaps, like I said, I wasn't very clear, is that      22 Q          I have no idea what you -- what you said.
   23   in addition to I think that there is another step in    23 A          Well, like I -- like I said before --
   24   reviewing the -- the injured party and -- and their     24 Q          I think what you're saying is you can't
   25   connection to the transaction. And I think there        2 5 point to anything today that you disagree with in


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                                                                                   46 (Pages 181 to 184)
                                                        181                                                      183
    1   the opinion?                                            1 lunch, and the waitress brings the check or -- or
    2   A          I -- I think that --                         2 asks -- she asks, one or two checks? And Mary says,
    3                 MR. KELLER: Object.                       3 two. And you kind of go, huh, that's weird, but
    4                 THE WITNESS: I'm sony. What was           4 whatever. And so she brings the checks. And Mary
    5             that?                                         5 says, oh, yeah, here's your ten bucks, and she puts
    6   Q           Is that fair?                               6 it in your hand and says, thanks. And then she goes
    7                 MR.KELLER: Go ahead.                      7 and snatches it right back and says, seven years ago
    8                 REPORTER: Did you object? I'm             8 we had lunch and I paid for your lunch, but I didn't
    9             sony. Did you object?                         9 offer to do it, so I'm going to take this back and
   10                 MR. KELLER: I just said objection        10 now we're even. And you kind of look at her
   11             and she can go ahead.                        11 dumbfounded like, what? She put a ten-dollar bill
   12   A          I think that the opinion that I drafted     12 in my hand and then she snatches it right back?
   13   was a reasonable one. I think that I performed the     13          And so the question is, has Mary repaid
   14   -- the research and I drafted the opinion, one --      14 the parking, the $10 parking loan?
   15   one that is reasonable, but, as Judge Hood has         15              MR. KELLER: Objection; relevance.
   16   stated, that one can see or one can agree or one can   16          I'm not sure how this has anything to do
   17   disagree and state that my view of how it should be    17          with the case. So --
   18   interpreted is incorrect. But I stand by what I        18 Q          You think--
   19   drafted, what I've written, understanding that those   19              MR. KELLER: Enante, you can answer
   20   -- there are people that may have -- there are         20          if you understand what he just said. I
   21   courts that may have different views on what I've      21          don't.
   22   drafted.                                               22 Q          Isn't this what Travelers did to Laura
   23   Q          Understand. Okay. Now I want to ask         23 Woods?
   24   you a hypothetical. You and your good friend go to     24              MR. KELLER: Object to the form, but
   25   -- no, go -- go for coffee. Mary's been your friend    25          go ahead.

                                                        182                                                       184
    1   since elementary school. She is not your best           1 A          I really can't --
    2   friend, but you're really close, been through a lot     2 Q          They gave -- they gave her -- they gave
    3   together, years and years. She's got your back,         3 her the 10 -- they said they were going to give her
    4   you've had your-- her back. You follow me?              4 the 10,000, and then by offsetting it they took it
    5   A          Okay.                                        5 right back. The question is, have they paid the
    6   Q          Mary -- so you-all meet for coffee           6 parking money back? Have they paid -- if they take
    7   somewhere, and Mary's got to park in a parking          7 it back as an offset, have they really paid it?
    8   garage. And you get the coffee, you have a good         8               MR. KELLER: Same objection. Go
    9   time, she opens her purse, and she says, oh, darn,      9           ahead if you know.
   10   I don't have any cash. I need ten bucks to pay my      10 A          Steve, I'll be honest. I can't make
   11   parking, and they only -- the -- the card thing is     11 heads or tails of the hypothetical, and so I don't
   12   broken. They only take cash; I don't have any cash.    12 know how to answer that question.
   13   And she says, Enante, can you loan me ten bucks?       13 Q          I put $10 in your hand to repay you for
   14   I'll pay you back. And you're like, of course.         14 money you loaned me for parking -- Mary for parking.
   15   You're my--you know, you-all are good friends,         15 I put it in your hand, and then I snatched it out of
   16   been together for -- been friends for many years.      16 your hand. And the question is, did I pay you back
   17   She -- she's like -- she covers you like a warm        17 for the parking?
   18   blanket. When you're with her you just feel good       18               MR. KELLER: Same objection.
   19   and supported, and -- and you've got a great           19 Q          If I put a ten-dollar bill in your hand
   20   relationship. So you're like, fine, of course,         20 and then I come up with some pretext or something to
   21   whatever you need. I'll pay you back.                  21 snatch it right back, have I paid it?
   22             Couple months later you meet for lunch.      22               MR. KELLER: Same objection, and --
   23   She calls you and says, hey, I got your ten bucks.     23 Q          Isn't that the same thing that Travelers
   24   And you kind of go, ha, ha, ha, and okay. And you-     24 did to Laura Woods? They said they would pay the
   25   all agree on a place, and you have a very nice         25 10,000, they paid it, and then they took it right


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                                                                                    47     (Pages 185 to 188)
                                                       185                                                         187
    1   back as a form -- as an offset.                         1   Q          Mary is Travelers.
    2                MR. KELLER: Same objection. Go             2   A          Mary is Travelers. And then --
    3            ahead.                                         3   Q          Mary   owes -- Mary owes money to you.
    4   Q          Isn't it the same thing?                     4   You're Laura Woods.
    5                MR. KELLER: Same objection.                5   A          And I'm Laura?
    6   A         No.                                           6   Q          Uh-huh. (Affirmative) And they paid
    7   Q          How is it different?                         7   the money, the $10, or in Laura's case 10,000, or
    8   A          Well, first and foremost I hardly            8   11,000, and then they take it right back. Have they
    9   understand the example, but if in your hypo Mary at     9   paid it? If they put it in your hands and then take
   10   some point paid something -- Steve, I'm going to be    10   it right back for some other reason, have they
   11   honest, I can't make heads or tails of it.             11   discharged the obligation to pay the loan?
   12   Q          Let me -- let me tell you the --            12                MR. KELLER: Object to the form.
   13   A          I can't follow.                             13             This has gone on a long time.
   14   Q          Let me tell you the -- let me tell it to    14   A          Yeah.
   15   you again. Okay, you're at coffee with your friend     15                MR. KELLER: Go ahead.
   16   Mary.                                                  16   A          I don't -- I don't know how to answer
   17                MR. KELLER: I think she's already         17   that, Steve.
   18            told you she doesn't understand. So do        18                MR. STOLTZ: Okay. Subject to later
   19            you want her --                               19             objections I move to admit all of the
   20                MR. STOLTZ: I'm going to -- I'm           20             exhibits, 25 to 39, and that's all I
   21            going to try it again.                        21             have.
   22                MR. KELLER: Okay. This -- this'll         22              ------------------------
   23            be the last time, but go ahead.               23              EXAMINATION
   24   Q          You and Mary go to coffee. She doesn't      24   BY MR. KELLER:
   25   have cash for parking. She asks you if you'll loan     25   Q      Ms. Darout, did you have any sort of


                                                       186                                                         188
    1   her ten bucks. You say, of course I'll loan you ten     1 ulterior motive for rendering the opinion that you
    2   bucks. Couple months later -- she says, I'll pay        2 prepared in this case?
    3   you back. You're like, yeah, yeah, no problem;          3 A         No, I did not.
    4   happy to do it. Couple months later you meet for        4 Q         Were you rewarded in any way, whether by
    5   lunch. Waitress brings two checks. You're kind of       5 money or a different position or otherwise, by
    6   surprised by that. You figured somebody'd pick it       6 Travelers because of --
    7   up or whatever. End of the meal Mary puts in your       7 A         No.
    8   hand the ten-dollar bill that you loaned to her a       8 Q         -- the opinion you prepared?
    9   couple months ago for parking. But then she             9 A         No. No, not at all.
   10   snatches it right back and says, well, I paid for      10 Q         Does Travelers or Standard Fire -- I'm
   11   your lunch seven years ago, and so now we're even.     11 going to use the two interchangeably. Does
   12   And the question is, has Mary paid the parking loan?   12 Travelers have a company policy or stance to limit
   13                MR. KELLER: Same objection. Go            13 the full amount of UIM benefits payable to insureds?
   14             ahead.                                       14 A         Do they have a policy to limit?
   15   A          I mean, some people will say no, some       15 Q         Yes.
   16   people will say yes. I -- I don't --                   16 A         They don't have -- are you talking an
   17   Q          What do you say?                            17 internal policy?
   18   A          I say I hardly think -- I don't know. I     18 Q         Yes.
   19   just don't know how this is relevant to -- to the      19 A         No. No, they don't.
   20   case at hand.                                          20
   21   Q          Because Travelers did the same thing to     21
   22   Laura Woods, didn't she -- didn't they?                22
   23                 MR. KELLER: Object to the form.          23
   24   A          So Laura loaned Travelers some money and    24
   25   then Travelers -- what? I'm sorry.                     25


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                                                                                    48     (Pages 189 to 192)
                                                    189                                                                191
    1                                                       1 STATEOFKENTUCKY)
    2                                                         COUNTY OFFAYETTE)
    3   Q         Okay. Did anyone tell you what            2
    4   conclusion to reach when preparing your coverage                I, MARYBETH C. SOWARDS, Certified Court
                                                            3 Reporter and Notary Public, State of Kentucky at
    5   opinion?
                                                                 Large, certify that the facts stated in the caption
    6   A        No.                                        4 hereto are true; that at the time and place stated
    7              MR. KELLER: Okay. That's all I            5 in said caption the witness named in the caption,
    8           have. Thank you.                             6 after being by me duly sworn, was examined by
    9              MR. STOLTZ: Ms. Darout, thank you         7 counsel for the parties; that said testimony was
   10           very much.                                   8 taken down in shorthand by me and later reduced to
   11              THE WITNESS: No problem.                  9 typewriting under my direction; and the foregoing is
   12              VIDEOGRAPHER: Okay.                     1 O a true and complete record of the testimony given by
                                                           11 said witness.
   13              MR. KELLER: Enante, do you want the
                                                           12         Said deposition was presented to the
   14           opportunity to review the transcript       13 witness for reading and signature, as set forth
   15           before it's released? You have that        14 herein.
   16           option.                                    15         My commission expires: January 11, 2023.
   17              THE WITNESS: Yes.                       16         In testimony whereof, I have hereunto set
   18              MR. KELLER: Okay. So, Madam Court       1 7 my hand and seal of office on this, the 3rd day of
   19           Reporter, if you would like to -- I        18 November, 2021.
   20           don't know how you want to do it, Steve.   19
                                                           20
   21           But if you-all want to reach out and
                                                           21                  MARYBETH C. SOWARDS
   22           then we can provide Enante with the        22                  Certified Court Reporter (KY)
   23           unofficial transcript, and then she can    23                  Certification No. 200410115
   24           review it and then furnish whatever        24                  Notary Public, State-at-Large
   25           additions or corrections she sees,         25                  Notary ID No. 613817

                                                    190                                                                192
    1          that's fine.                                 1        CERTIFICATE OF VIDEO SPECIALIST
                                                            2
    2             MR. STOLTZ: That's fine. I think
                                                                UNITED STATES DISTRICT COURT, EASTERN DISTRICT OF KY
    3          Ms. Sowards will do that.                    3
    4             MR. KELLER: Okay.                           CLAIMANT(S):     LAURAN. WOODS
    5             VIDEOGRAPHER: Thank you. There            4 DEFENDANT(S): THE STANDARD FIRE INSURANCE CO.
    6          being no --                                    CASE NO.:    5: l 8-cv-658-JMH
                                                            5
    7             MR. STOLTZ: You want--you want
                                                            6            I, JOHN S. SOWARDS, Certified
    8          her to send it to you, Stephen?                  Deposition Video Specialist and Notary Public in
    9             MR. KELLER: That's fine.                  7   and for the State of Kentucky at Large, do hereby
   10             MR. STOLTZ: Okay.                             affinn that I have accurately made the video
   11             VIDEOGRAPHER: Anybody have anything       8   recording of the deposition ofENANTE DAROUT in the
   12          further?                                     9   above-captioned matter on Monday, October 18, 2021,
                                                           10   beginning at the hour of 9:45 a.m. and ending at
   13             MR. STOLTZ: Nothing further.             11   the hour of2:40 p.m. No alterations, additions,
   14             MR. KELLER: No.                          12   or deletions were made thereto.
   15             THE WITNESS: No.                         13            I further certify that I am a
   16             VIDEOGRAPHER: That being all, the        14   disinterested person and that I am in no way
   17          deposition is concluded. The time is        15   interested in the outcome of said action, being
                                                           16   neither financially interested nor a relative or
   18          2:40, and we're off the record.             17   employee of any of the parties or counsel.
   19                                                      18            My commission expires: March 18, 2024.
   20             (DEPOSITION CONCLUDED)                   19            Date: November 3, 2021.
   21                                                      20
   22                                                      21
                                                           22
   23
                                                           23             JOHNS. SOWARDS
   24                                                      24             NOTARY ID No. KYNP4035
   25                                                      25



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    1                SIGNATURE
    2           I, ENANTE DAROUT, do hereby certify
    3 that I have read the foregoing deposition given by
    4 me on October 18, 2021, and acknowledge it to be
    5 true and accurate.
    6
    7
    8

    9              ENANTE DAROUT
   10
   11
   12
               Subscribed and sworn to before me by
   13
        ENANTE DAROUT on this, the                  day of
   14
                            , 2021.
   15
   16
   17          My commission expires:
   18
   19
   20
   21
   22
   23              NOTARY PUBLIC
   24
   25




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